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                                                                                                                               United States District Court
                                                                                                                                 Southern District of Texas

                                                                                                                                     ENTERED
                                         UNITED STATES DISTRICT COURT                                                                 July 19, 2017
                                                                                                                                  David J. Bradley, Clerk
                                          SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION

KEITH COLE, et al,                                                       §
                                                                         §
             Plaintiffs,                                                 §
VS.                                                                      §     CIVIL ACTION NO. 4:14-CV-1698
                                                                         §
BRYAN COLLIER, et al,                                                    §
                                                                         §
             Defendants.                                                 §


                              MEMORANDUM AND OPINION SETTING OUT
                            FINDINGS OF FACT AND CONCLUSIONS OF LAW



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       Introduction

       Plaintiffs in this class action request relief from conditions in a state prison. In turning to

this subject, the Court is acutely aware of both the limitations of its own competence, and the

importance of ensuring that constitutional treatment is accorded one of society’s most discrete

and disenfranchised minorities.

       In a perfect world, the safety and good health of prisoners would be assured by

Solomonic men and women who had simultaneous expertise in the corrections industry,

construction, safety engineering, medicine, and law. In the world we inhabit, however, judges are

asked to make judgments and enforce decisions because courts are, in our government’s

architecture, where individuals and institutions bring constitutional issues. The task is one that

any court must approach with the utmost humility. Still, the fact that a case is difficult does not

lead to the conclusion that a decision should be avoided.

       The immediate issue is whether a preliminary injunction should be entered to redress

conditions that are alleged to create an unconstitutional risk of heat-related illnesses at the

Wallace Pack Unit, a prison operated by the Texas Department of Criminal Justice (“TDCJ”).

Although no heat-related deaths have been reported at the Pack Unit, at least 23 men have died

because of heat at TDCJ facilities from 1998 to today. For reasons that will be set forth, the

Court does find that a preliminary injunction should issue to ensure that prisoners at the Pack

Unit are not deprived of their Eighth Amendment right to be free of cruel and unusual

punishment.




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I. Findings of Fact

       A. Procedural Background

       Plaintiffs filed this lawsuit on June 19, 2014. Docket Entry No. 1. Initially, Plaintiffs

consisted of four men—David Bailey, Marvin Yates, Keith Cole and Nicholas Diaz—

incarcerated at the Pack Unit. The Pack Unit is a Type-I Geriatric prison, which means it is a

single-level facility with wheelchair accommodations. Id. at 2-3; Docket Entry No. 326 at 12.

The Pack Unit is owned and operated by TDCJ. Docket Entry No. 326 at 12.

       Plaintiffs have sued Defendants Bryan Collier, the Executive Director of TDCJ, and

Robert Herrera, the warden of the Pack Unit, under 42 U.S.C. § 1983, alleging that the

conditions of confinement in the Pack Unit violate Plaintiffs’ Eighth Amendment right to be safe

from conditions of confinement that cause a substantial risk of serious injury or death. Docket

Entry No. 629 at 42-43. A smaller subset of the plaintiffs—those who claim to have a

disability—also alleges that TDCJ is violating its right to be reasonably accommodated under the

Americans with Disabilities Act (“ADA”) and Rehabilitation Act (“RA”). Id. at 43-45.

       Plaintiffs moved for class certification, and in May 2016, the Court held a four-day

evidentiary hearing. On June 14, 2016, the Court granted Plaintiffs’ motion for class

certification, certifying a general class and two subclasses. Docket Entry No. 473. Around the

same time, Plaintiffs also moved for a preliminary injunction requiring the Pack Unit to provide

safe drinking water, to adopt a formal policy to address the dangers of heat waves, to monitor

regularly the temperatures inside the Pack Unit, and to amend its policy regarding respite areas—

locations that prisoners can go to for relief from the heat. Docket Entry No. 434. The Court

considered evidence on the Motion during the four-day evidentiary hearing. On June 21, 2016,

the Court entered a preliminary injunction ordering the Pack Unit to provide water that



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conformed to the Environmental Protection Agency (“EPA”) maximum contaminant level

requirements for arsenic. Docket Entry No. 477. Soon thereafter, the Court denied Defendants’

Motion for Summary Judgment. Docket Entry No. 533.

          On May 1, 2017, Plaintiffs filed a motion for a second preliminary injunction, and on

May 22, 2017, Defendants responded. Docket Entry Nos. 620 & 641. The Court held a nine-day

hearing in June 2017. Plaintiffs ask this Court to order TDCJ to lower the indoor temperatures at

the Pack Unit to below 88 degrees1 for the summer of 2017. They contend that the extreme heat

they endure at the Pack Unit is dangerous and damaging to their health, and that Defendants’

mitigation measures are wholly inadequate to counter the high temperatures. As a result,

Plaintiffs claim, the heat creates an unconstitutional condition of confinement. Docket Entry No.

620. If the Court fails to order Pack Unit to lower the temperatures, Plaintiffs request various

forms of alternate relief, including mandating three hours of scheduled respite time, installing

portable “cooling units” in the inmate housing areas, monitoring each person’s water

consumption, and requiring medical staff to conduct “wellness checks” for heat-sensitive people.

Id. at 3-13. Defendants argue, primarily, that the mitigation measures they have implemented

since 2015 have eradicated any potential constitutional violation caused by the heat in the Pack

Unit. Docket Entry No. 641 at 13-14.

                 1. The Plaintiff Classes

          In its previous ruling granting Plaintiffs’ motion for class certification, the Court certified

three classes. Docket Entry No. 473. First, the Court certified the General Class, which is defined

as:

          All inmates who currently are, or in the future will be, incarcerated at the Pack
          Unit, and who are subjected to TDCJ’s policy and practice of failing to regulate
          high indoor heat index temperatures in the housing areas.
1
    All temperatures noted are in Fahrenheit.

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          Id. at 2-3. The Court also certified two subclasses. The Heat-Sensitive Subclass is

defined as:

          All people who are incarcerated at the Pack Unit, or in the future will be, that are
          subjected to TDCJ’s policy and practice of failing to regulate high indoor heat
          index temperatures in the housing areas, and either: (1) have a physiological
          condition that places them at increased risk of heat-related illness, injury, or death
          (including, but not limited to, suffering from obesity, diabetes, hypertension,
          cardiovascular disease, psychiatric conditions, cirrhosis of the liver, chronic
          obstructive pulmonary disease, cystic fibrosis, asthma, sweat gland dysfunction,
          and thyroid dysfunction); or, (2) are prescribed an anticonvulsant, anticholinergic,
          antipsychotic, antihistamine, antidepressant, beta blocker, or diuretic; or (3) are
          over age 65.

Id. at 3. The Disability Subclass consists of:

          All people incarcerated at the Pack Unit, or who will be in the future, that are
          subjected to TDCJ’s policy and practice of failing to regulate high indoor heat
          index temperatures in the housing areas and suffer from a disability that
          substantially limits one or more of their major life activities and who are at
          increased risk of heat-related illness, injury, or death due to their disability or any
          medical treatment necessary to treat their disability.

Id. Defendants appealed the grant of class certification. The Fifth Circuit has yet to issue its

ruling.

                 2. The First Preliminary Injunction

          On June 21, 2016, the Court entered a preliminary injunction finding that the drinking

water at the Pack Unit contained between two and four-and-a-half times the amount of arsenic

permitted by the EPA, and ordering the Pack Unit, for a defined period, to provide water that

conformed with the EPA maximum contaminant level requirements for arsenic. Docket Entry

No. 477. Plaintiffs had also asked the Court to order that each inmate receive three hours of

scheduled respite every day, and to order Pack Unit to measure, daily, the temperature inside

each of the housing areas. Docket Entry No. 434. The Court, at that time, declined to order such




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relief. Docket Entry No. 477 at 29-30. Defendants appealed the Court’s order, and their appeal

was dismissed as moot. Docket Entry No. 594.

       B. The Evidence in the Record

       This motion for a second preliminary injunction requires balancing the expediency

demanded by the request for emergency relief with a full and fair consideration of the

voluminous record. The parties submitted hundreds of pages of exhibits. Fifteen witnesses

testified at the nine-day hearing, including four expert witnesses. Additionally, Plaintiffs have

incorporated by reference the testimony and evidence presented at the 2016 four-day hearing.

This consisted of testimony from eight witnesses, including three expert witnesses. Docket Entry

No. 477. Previously, the Court had visited the Pack Unit.

       The Court reviews the factual record under the applicable legal framework to resolve the

disagreements between the parties, and to enter the findings of fact and conclusions of law.2

               1. The Parties

       As described above, the Court certified a General Class and two subclasses in June 2016.

The General Class includes every person currently incarcerated at the Pack Unit, and the two

subclasses include subsets of that population. The named Plaintiffs in the case are Keith Cole,

Jackie Brannum, Richard King, Michael Denton, Fred Wallace, and Marvin Ray Yates.

       The defendants in this case are Bryan Collier, the Executive Director of TDCJ, and

Robert Herrera, the Warden of the Pack Unit, both of whom are sued in their official capacities.

TDCJ is also a defendant.




2
 Any findings of fact that are also, or only, conclusions of law are so deemed. Any conclusions
of law that are also, or only, findings of fact are so deemed.

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                 2. The Wallace Pack Unit

         The Wallace Pack Unit is one of 109 custodial facilities operated by TDCJ across the

state of Texas.3 Docket Entry No. 326 at 12. It began housing prisoners in 1983. Id. The facility

has wheelchair accommodations, 60 wheelchair-accommodated cells, and a 12-bed infirmary. Id.

While the facility does house numerous older men, those who are unable to engage

independently in the activities of daily living are assigned to assisted living and/or long-term

inpatient care, in other facilities. Id. These facilities include type-II or type-III Geriatric facilities,

which are required to have air conditioning. Defs.’ Ex. 109 at 1. TDCJ has one type-II Geriatric

facility and one Type-III Geriatric facility. Hearing Tr. 5 at 41.

         The Pack Unit houses approximately 1,450 men, and has approximately 334 employees.

Docket Entry No. 326 at 12. The unit has, among other facilities, a cattle farm and an agricultural

farm. Id. There is an air conditioned infirmary, and at least one medical provider is present 24

hours a day, seven days a week. Id. All of the administration offices are air conditioned, as are

the visitation areas, the education department, the barbershop, and a small portion of the craft

shop. Id. at 13-14.

         The Pack Unit has three separate housing areas: the main building, the expansion

dormitory, and the trusty camp. Id. at 13. Each of these housing areas is set up in a dormitory

style, with open-air cubicles for each person. Id. Each dormitory has a “dayroom,” with tables,

chairs, and televisions. Pls.’ Ex. 2. None of the dormitories contains conditioned air.4 Docket

Entry No. 326 at 12. Within the main building, four dormitories extend from either side of a

main hallway. Pls.’ Ex. 1 These dormitories are labeled Dormitory A, Dormitory B, Dormitory
3
    TDCJ typically incarcerates more than 150,000 people at any given time. Hearing Tr. 6 at 51.
4
  The Pack Unit does contain 40 air conditioned beds in a “work unit,” which is an off-site prison
location that houses only trusty inmates. Additionally, twenty segregation cells and twelve
infirmary beds at the Pack Unit are air conditioned. Docket Entry No. 721 at 3.

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C, and Dormitory D. Id. Each dormitory is divided into four sub-dormitories, which are labeled

numerically, from 1 to 16. Hearing Tr. 3 at 17. Two of those dormitories are wheelchair

accessible, and contain 30 cubicles each. Id. at 29; 38-39. The other dormitories house

approximately 54 men each. Hearing Tr. 4 at 227. Each dormitory contains toilets, and all of the

main-building dormitories use a communal shower space with 72 shower heads. Hearing Tr. 3 at

31. The expansion dormitory is housed outside of the main building, but within the perimeter

gates. Id. at 34. This dormitory holds approximately 111 men, and contains showers within the

dormitory. Id. The trusty camp has a 321-person capacity, and is located outside of the main

perimeter fence. It also contains its own showers. Id. at 15, 35.

       The parties stipulated that, as of September 18, 2014,5 the Pack Unit contained 728 men

with hypertension (high blood pressure), 212 men with diabetes, 142 men with coronary artery

disease, 111 obese men, 53 men with a psychiatric condition, 66 men prescribed an anti-

psychotic medication, 22 men with cirrhosis of the liver, 84 men with chronic obstructive

pulmonary disorder (“COPD”), 189 with thyroid dysfunction, and 113 with asthma. Docket

Entry No. 721 at 3-4. There are 188 men in the Pack Unit over the age of 65. Id. Many of these

conditions overlap within one person. However, all of the conditions, individually, cause heat

sensitivity, as will be discussed in greater detail below.6 The Pack Unit also houses a number of

men who are young and healthy. These men work in the fields or the kitchen, help carry drinking

water to the housing areas, and are integral to the functioning of the Pack Unit as a whole.

Hearing Tr. 3 at 21-23.

5
  The Court has not been provided with more recent numbers. However, the parties stipulated
that the numbers obtained in 2014 are typical for the Pack Unit. Docket Entry No. 721 at 3-4.
6
  All of the individuals listed above are included in the “Heat-Sensitive Subclass” certified by
this Court in 2016. Not all are included on the Heat-Restriction list produced by the University of
Texas Medical Branch, the medical provider for the Pack Unit. Hearing Tr. 4 at 120.

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               3. The Fact Witnesses

       The fact witnesses testified about the conditions in the Pack Unit, specifically relating to

extreme heat in the summers, and to the mitigation measures that have been implemented.

                             The 2017 Preliminary Injunction Hearing

       Richard King is a named Plaintiff in this case. He is a 71-year-old man incarcerated at

the Pack Unit. He has been in TDCJ custody for 28 years, and at the Pack Unit for six years. He

currently works in the craft shop in the Pack Unit. Mr. King suffers from high blood pressure,

diabetes, and obesity. He takes Furosemide and Carvedilol, two medications included on the

Correctional Managed Health Care Committee’s policy listing medications that interfere with the

body’s ability to regulate temperature.7 Additionally, in 2010 Mr. King suffered from a viral

infection that attacked his nerves, leading to the loss of 25-30 percent of the use of his legs. He

currently resides in the expansion dormitory of the Pack Unit, also known as E Dormitory. Mr.

King testified that the heat in the E Dormitory during the summer is like “walk[ing] out to your

car in the middle of the summertime.” Hearing Tr. 1 at 16. He stated that, in the summer, he

sweats profusely, his energy level drops, his appetite diminishes, and he finds it difficult to

function normally. Additionally, it is difficult for him to write letters because sweat drips all over

his paper, and when he lies down, sweat pools in his eyes. He finds that it is often cooler to lie on

the concrete floors than in his bunk, because the personal fan that he owns blows hot air and does

not have a cooling effect. He also testified about mitigation measures that the Pack Unit has

implemented, including a cool-down shower in his dormitory, ice water, respite areas, and




7
  Pls.’ Ex. 47 at 7. The Correctional Managed Health Care Committee is a statutorily-created
committee “responsible for developing, implementing, and monitoring the correctional managed
health care services for offenders confined in institutions operated by TDCJ.” McCollum v.
Livingston, No. 4:14-CV-3253, 2017 WL 608665, at *2 (S.D. Tex. Feb. 3, 2017).

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training about heat-related illnesses. He stated that these measures create temporary relief from

the heat. Hearing Tr. 1 at 3-64.

       Jackie Brannum is also a named Plaintiff, age 63, and is incarcerated at the Pack Unit.

He has been in TDCJ custody for approximately 22 years, and has been at the Pack Unit for 16

years. Like Mr. King, Mr. Brannum spends much of his time in the craft shop. He suffers from

high blood pressure, diabetes, obesity, and schizoaffective disorder. Mr. Brannum takes

Risperidone, Nortriptyline, Propranolol, and Amlodipine, Lisinopril, Pravastatin, Prozac, and

Carbamazepine, all of which are listed as “drugs associated with heat stress” by the Correctional

Managed Health Care Committee (“CMHCC”). Defs.’ Ex. 4 at 7. He also uses a walker because

of a pinched nerve in his back that makes walking difficult. He currently resides in dormitory

D16, within the main building. Mr. Brannum has not been allowed to work after he passed out

while working in the kitchen several years ago. Although Mr. Brannum was not diagnosed with a

heat-related illness at that time, he notes that it was hot in the kitchen, and that he was placed in a

cool-down area of the infirmary and told to drink cold water. He compares the heat in his

housing area to getting into a hot box in the sun during the summertime. The heat makes him feel

weak, dizzy, and nauseated. His heart feels like it beats faster, he has difficulty breathing, and he

gets headaches. He testified that he often sleeps on the concrete floor during the summer,

because the concrete is cooler than his bunks; however, some officers have told him he cannot

sleep on the floor. Mr. Brannum also complained of insects that get in through the openings in

the wire screens that cover the windows, and which bite him. Finally, Mr. Brannum testified

about his attempts to use the respite areas at the Pack Unit. He stated that, though he has used the

respite areas several times, he has been shuffled between various areas; he has been made to

stand with his nose to the wall in one respite area, despite his mobility impairment; he has been



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told that he could not go to respite because it was full; and he has been told that in order to stay

in respite in the infirmary, he must submit to a core (rectal) temperature reading. Hearing Tr. 1 at

67-118.

       Thomas Pennington is a 52-year-old man incarcerated at the Pack Unit. He has been in

TDCJ for 28 years, and has been in the Pack Unit for the past 11 years. Mr. Pennington has high

blood pressure, diabetes, and deep vein thrombosis (which causes blood clots in his legs), and is

morbidly obese. He must use a cane to walk. He also suffers from sleep apnea, which interferes

with his breathing at night. He uses a Continuous Positive Airway Pressure (“CPAP”) machine

to sleep, but has problems during the summer months because the sweat his body produces

makes it difficult to keep the mask as tight as it needs to be. Mr. Pennington takes Metoprolol

and Furosemide, two medications included on CMHCC’s list of drugs associated with heat

stress. Mr. Pennington currently resides in dormitory B6, which has a Power Breezer that TDCJ

recently installed. Mr. Pennington testified that the Power Breezer does nothing to help with the

temperature in his dormitory. He spoke about his experiences using the respite areas: while he

has never been denied access to respite, he has been discouraged by the constant movement and

standing required of him. He stated that, in the lower administration hallway, he is required to

stand, which is difficult for him. In the barbershop, he may be able to stay for 15-20 minutes

before he is told to go to the infirmary, and is only allowed to stay in the infirmary for a short

period of time as well. About three years ago, he was sent on a stretcher to the infirmary because

he began feeling sick, had difficulty breathing, and felt nauseated as a result of the heat. In June

2017, he felt the same symptoms when he was leaving the inmate cafeteria, and had to go to the

infirmary to cool down. Finally, Mr. Pennington testified about the insects that come into the

housing areas and bite him and the other inmates. Hearing Tr. 1 at 119-159.



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       Carlos Huerta is a 30-year-old man incarcerated at the Pack Unit. He has been in TDCJ

for three-and-a-half years, and in the Pack Unit for the past two years. He lives in the upstairs

section of the expansion dormitory. Mr. Huerta suffers from high blood pressure and is obese. He

takes Atenolol, which is on CMHCC’s list of medications that interfere with heat regulation. The

heat causes him to feel dizzy, have headaches, and get frustrated. Mr. Huerta testified that he

witnessed a Correctional Officer collapse in the dormitories on a very hot day. He, too, was

diagnosed with heat exhaustion last summer. He testified that he was feeling hot in his

dormitory, so he went outside. Mr. Huerta was walking8 outside, which is something he’s been

told to do to lose weight, and he felt worse. He went back into his dormitory, drank water, took a

cold shower, and got in front of the fan, but still did not feel better. Finally, he asked to go to

medical, where his core body temperature was found to be 102.3 degrees; he was sent to the

hospital, and was diagnosed with heat exhaustion. Finally, Mr. Huerta testified about his one

attempt to use the respite areas; he stated that he did not like it, because some of the officers

would limit how long inmates could stay depending on the officer’s opinion of when they had

sufficiently cooled off. Hearing Tr. 1 at 161-199.

       Keith Cole is a named Plaintiff in this case. He is a 63-year-old man incarcerated in the

Pack Unit. He has been in TDCJ for more than 23 years, and has lived in the Pack Unit for the

past six years. He currently resides in dormitory B6. Mr. Cole suffers from chronic

cardiovascular disease, high blood pressure, high cholesterol and diabetes. Mr. Cole takes many

medications, three of which are on CMHCC’s list of medications that cause heat stress:




8
  Defendants contend that Mr. Huerta was in fact running outside, which is what the Incident
Report states. The Court does not make credibility determinations at this point, but is merely
summarizing the witness’ testimony.


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Amlodipine, Metoprolol, and Hydrochlorothiazide.9 He testified that, since the lawsuit was filed,

conditions have improved in the Pack Unit: ice water is more readily available, cool-down

showers have been implemented, and he regularly accesses air conditioned respite areas.

However, he stated that most men living at Pack Unit are not as assertive as he is, and would not

demand access to respite, as he feels he must. Indeed, he estimated that only 15 to 20 men use

respite on a regular basis. Furthermore, Mr. Cole maintained that, even with these measures in

place, he and others are still at risk of harm from the heat in the housing areas. He stated that, on

a daily basis in the summer, he feels dizzy, nauseated, and short of breath. Additionally, he is

bothered by mosquitoes and other insects that get into the dormitory areas through the window

screens. Finally, Mr. Cole testified that the Power Breezer in his dormitory does nothing to cool

the air, and has no cooling effect unless he is standing directly in front of it. Hearing Tr. 1 at 199-

246.

         Robert Herrera has been the Senior Warden of the Pack Unit since 2010. He started his

career as a correctional officer in TDCJ at the age of 18, and has worked his way through the

ranks to become a warden. Defendants offered Warden Herrera’s testimony regarding the

functioning of the Pack Unit on a daily basis, and the various security concerns that he must

consider. He also spoke about the mitigation measures that have been implemented at the Pack

Unit, and their effectiveness in combating heat illness. Hearing Trs. 3 at 3-114, 4 at 2-246, 5 at 3-

21.

         Phyllis McWhorter is a registered nurse and the manager for TDCJ’s Mental Health

Services Liaison and Utilization Review. Prior to December 2016, Ms. McWhorter was the

manager of the Health Services Liaison, focusing on heat-related illnesses in all TDCJ facilities.

9
 As Mr. Cole did not testify to the names of these medications, they have been gleaned from his
medical documents. Pls.’ Ex. 22.

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In this role, she collected reports of heat-related illnesses as they were submitted by employees at

the various facilities in TDCJ. She testified as to the number of reports of heat-related illness at

the Pack Unit between the years of 2010 and 2016, and the number of those illnesses occurring

indoors versus outdoors. She also spoke to the ability of medical providers to request that an

inmate be assigned to a Type II or Type III Geriatric Unit, both of which are air conditioned.

Hearing Tr. 5 at 25-98.

       Cody Ginsel is currently the Division Director for the Private Facilities Contract

Monitoring Oversight Division. His prior position in TDCJ was as Deputy Director of

Management Operations in the Correctional Institutions Division. Before that, he was a warden

or assistant warden in TDCJ for 13 years. Mr. Ginsel spoke to the financial ability of TDCJ to air

condition the housing areas of the Pack Unit. He also testified about the heat mitigation policies

that have been designed by TDCJ and their implementation in the Pack Unit. Finally, Mr. Ginsel

reviewed the Incident Command System, which is the system that TDCJ alleges to be a heat

wave policy. Hearing Trs. 5 at 99-204, 6 at 2-244.

         Kim Farguson is the Director of Maintenance in the Facilities Department of TDCJ.

He testified that he has been working for TDCJ for 20 years, and has a mechanical license to

work in the fields of heating, air conditioning, natural gas piping, and sheet metal, among others.

Mr. Farguson testified as to the electrical capacity in Pack Unit, and its ability to accommodate

the air conditioning units proposed by Plaintiffs. He also prepared a report about the estimated

cost of implementing many of Plaintiffs’ other proposed remedies. Hearing Tr. 8 at 79-120.

       LaMorris Marshall is the Captain of correctional officers at the Pack Unit. He has

worked for TDCJ for the past 21 years. Mr. Marshall testified about the mitigation measures that

have been implemented in the Pack Unit, and the inmates’ knowledge of these measures. He also



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testified as to two incidents that occurred during the first week of the hearing, wherein

approximately 60, and then 150, inmates simultaneously requested respite. These incidents were

significant because, prior to those two days, the largest number of inmates who had requested

respite at the same time was approximately 20. Hearing Tr. 9 at 3-90.

        Michael Denton is a named Plaintiff in this case. He is 39, has been living at the Pack

Unit for more than 10 years, and currently resides in the expansion dormitory. He does not have

any medical conditions that impact his body’s ability to regulate its temperature, nor is he taking

any medications that have detrimental effects. He works in the kitchen at the Pack Unit. During

the summers at the Pack Unit, Mr. Denton suffers from headaches, dizziness, and extreme

perspiration. He was one of the approximately 60 men who requested respite simultaneously, and

testified about that experience. Hearing Tr. 9 at 91-126.

                  The 2016 Class Certification/Preliminary Injunction Hearing10

        Cody Ginsel testified at both the 2016 and the 2017 hearings. In 2016, he was still the

Deputy Director of Management Operations in the Correctional Institutions Division of TDCJ.

Mr. Ginsel testified about issues relating to the arsenic levels in the water at the Pack Unit, which

was the subject of the 2016 hearing. However, he also testified about the heat mitigation policies

at the Pack Unit. Thus, for the purposes of this opinion, his testimony in 2017 was substantially

similar to the testimony he gave in 2016. Docket Entry No. 459 at 14-130.

               4. The Expert Witnesses

                        The 2017 Second Preliminary Injunction Hearing

        Ron Brown was presented by Plaintiffs to testify under Rule 702 of the Federal Rules of

Evidence on the possibility of air conditioning the Pack Unit, as well as the associated cost. Mr.
10
   Witnesses who testified solely about arsenic levels in the water at the Pack Unit are not
included in the summary. They have not been considered in the Court’s analysis of Plaintiffs’
second request for preliminary injunction.

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Brown testified that he is registered by the State of Texas as a mechanical engineer, and is also

certified in electrical, automatic controls, and energy management. He was licensed as a

professional engineer in 1979, and has been practicing as a mechanical engineer ever since. He

has been registered as an engineer in 26 states, and has spent the majority of his career designing

air conditioning systems for various types of structures. In preparing his opinion in this case, Mr.

Brown toured the Pack Unit, reviewed blueprints and other structural documents, and performed

various calculations using an engineering software. Hearing Tr. 2 at 2-93.

       Eldon Vail also testified for Plaintiffs under Rule 702. Mr. Vail spent his career in the

Washington Department of Corrections. He started as a correctional officer before becoming the

superintendent of three different facilities. He worked his way up through the administration,

became the deputy director for seven years, and then in 2007 became the head of the agency until

2011, when he retired. Since that time, he has been consulting on correctional issues for the U.S.

Department of Justice and other entities, as well as serving as an expert in litigation. Mr. Vail

testified about the importance of air conditioning prisons in hot climates, and about his

experience retrofitting two prisons in the state of Washington. He also testified about other states

in the U.S. that require cooled air in their facilities, as well as the mitigation measures in place at

the Pack Unit. Mr. Vail toured the Pack Unit and interviewed several men incarcerated there in

preparing his opinion for this case. Hearing Tr. 2 at 96-280.

       Dr. Dean Rieger was presented by Defendants as a Rule 702 witness in corrections. Dr.

Rieger has a medical degree and a master’s degree in public health. Over the course of his career,

Dr. Rieger has been the medical director for a women’s facility in Michigan, the medical director

for the state prison of southern Michigan, the state regional medical director for southeast

Michigan, and the medical director for the Indiana Department of Corrections. From 2006-2016,



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Dr. Rieger was the Chief Medical Officer and Corporate Medical Director for Correct Care

Solutions, a private managed healthcare company that focuses on correctional healthcare. Dr.

Rieger testified about the effects of heat stress on the human body, the compounding effects

caused by certain conditions or medications, and the mitigation measures in place at the Pack

Unit. Dr. Rieger testified that he has earned approximately $40,000 to $45,000 through his work

for TDCJ in this and other heat-related cases. Hearing Tr. 7 at 2-173.

         Frank Traknyak also testified as a Rule 702 witness for Defendants. He is an engineer,

and owns a company called Trak Engineering, which focuses on mechanical, electrical and other

types of engineering. About 60 percent of Mr. Traknyak’s professional focus is on heating and

air conditioning, and he has designed thousands of systems. Mr. Traknyak testified as to the cost

of installing permanent and temporary air conditioning systems in the housing areas of the Pack

Unit. In coming to his conclusions, Mr. Traknyak visited Pack Unit, reviewed drawings, and

performed various calculations using an engineering software. Hearing Trs. 7 at 181-208, 8 at 2-

78.

                    The 2016 Class Certification/Preliminary Injunction Hearing

         Dr. Susi Vassallo testified as a Rule 702 witness for Plaintiffs at the hearing in 2016. Dr.

Vassallo is a practicing physician, board certified in emergency medicine and medical

toxicology. She is licensed in New York and Texas, and is a professor of emergency medicine at

the New York University School of Medicine. She is also on faculty at Dell Medical School, the

new medical school for the University of Texas at Austin. Dr. Vassallo is a specialist in

thermoregulation—the capacity of the body to maintain the temperature of 98.6 degrees. She is

also board certified in correctional health by the National Commission on Correctional Health

Care. Dr. Vassallo testified about the risk of heat-related illnesses for the men incarcerated in the



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Pack Unit, and the effectiveness of the heat mitigation measures as compared to the effectiveness

of air conditioning. She expounded on the effects of heat on the human body, as well as the

effects of heat on individuals who have comorbidities, or take medications that impede their

ability to thermoregulate. Docket Entry No. 465 at 29-226.

       Dr. Michael McGeehin was presented by Plaintiffs as a Rule 702 witness. Dr.

McGeehin spent much of his career as the Division Director for the Division of Environmental

Hazards and Health Effects at the United States Centers for Disease Control and Prevention. He

received his doctorate degree in environmental epidemiology, and has published several peer-

reviewed epidemiological articles related to heat. Dr. McGeehin testified about various

populations’ risks of heat-related illness. He also spoke to the effectiveness of different heat

mitigation measures. Docket Entry No. 460 at 7-157.

       Dr. Dean Rieger testified at both the 2016 and 2017 hearings on behalf of Defendants.

His credentials are detailed above; his testimony in 2016 was substantially similar to the

testimony given in 2017. Docket Entry No. 466 at 4-135.

       Dr. Kathryn Means testified on behalf of Defendants as a Rule 702 witness. Dr. Means

is board certified in hospice and palliative medicine. She has practiced as a primary care

physician, but has mostly focused on geriatrics. In 2009, she began working for TDCJ as a

consulting physician in the Health Services Division. After the summer of 2011, Dr. Means was

tasked with reviewing the autopsies of the men who died from heat-related illness. As an expert

in this case, Dr. Means testified about the risk to the named Plaintiffs of heat illness, and spoke

generally about the risk of heat illness faced by all individuals living at the Pack Unit. Dr. Means

reviewed extensive literature relating to heat-related illness, reviewed the medical records of the

named Plaintiffs in the case, and reviewed the medical records of 22 heat related illnesses that



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had occurred in TDCJ. She was compensated at the rate of $300 per hour, and as of April 1,

2016, had been paid $206,000. At the time that she testified, Dr. Means was a defendant in two

lawsuits stemming from the deaths of two individuals in TDCJ from heat-related illness during

the summer of 2012. Because TDCJ was her employer when the acts alleged in the lawsuits

occurred, TDCJ was covering the cost of Dr. Means’ legal defense, and will pay any judgment

against her. Docket Entry No. 466 at 135-257.

       The Court finds that Drs. Vassallo, McGeehin, Rieger, and Means meet the Rule 702

requirements to testify as to the effects of heat on the human body, and on populations as a

whole. The Court also finds that Mr. Brown and Mr. Traknyak are qualified to testify as experts

of mechanical engineering, specifically with regard to air conditioning. Finally the Court finds

that Eldon Vail meets the requirements to testify as an expert in corrections.

               5. Overview of the Factual and Legal Issues

           There is little dispute that the heat in the housing areas of the Pack Unit during the

summer months could violate Plaintiffs’ constitutional right to conditions of confinement that are

free from a substantial risk of serious harm or injury. The parties’ dispute focuses on the

effectiveness of TDCJ’s mitigation measures in reducing that risk to an acceptable level.

           In sum, TDCJ avers that its mitigation measures, which include the constant provision

of ice water, both industrial and personal fans, cool-down showers, access to respite areas,

wellness checks, and the training of both correctional officers and inmates on the recognition of

heat-related illnesses, have successfully reduced the number of heat-related illnesses in the Pack

Unit. Plaintiffs dispute that all of the inmates at the Pack Unit know they have access to respite

areas at any time of day or night, and further contend that the Pack Unit could not accommodate

the numbers of inmates who would want to take advantage of these respite areas. Plaintiffs also



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assert that correctional officers at the Pack Unit are not, in fact, conducting wellness checks, but

are merely continuing the pre-existing practice of conducting security checks, which do not

assess the inmates’ well-being. Plaintiffs argue that an unconstitutional risk of heat-related

illness remains, and that the only way to reduce this risk is to air condition the housing areas.

This is especially true, according to Plaintiffs, for individuals with heat sensitivities.

        For the reasons set out below, the Court finds and concludes that the mitigation measures

put in place by TDCJ are insufficient to combat the substantial risk of serious injury or death

faced by the inmates at the Pack Unit during the summer months. Since the 12 heat-related

deaths in 2011 and 2012, TDCJ has implemented, and attempted to implement, many of the

mitigation measures discussed by the Fifth Circuit in Ball v. LeBlanc, 792 F.3d 584, 599 (5th

Cir. 2015). While these measures have achieved various levels of effectiveness, they do not

reduce the substantial risk of heat-related illness faced by all of the men at the Pack Unit, and

particularly not the men with heat sensitivities. Although Pack Unit officials state that they have

made all of the air conditioned spaces available as respite areas, the testimony of Plaintiffs and of

Pack Unit officials reveals that these respite areas can handle only a fraction of the men living at

Pack Unit, and even then, the men are often forced to stand, not talk, and move quickly from one

respite area to another. Furthermore, the testimony of Plaintiffs and Pack Unit officials belies

TDCJ’s claim that wellness checks are being conducted for those with heat sensitivities. Instead,

it is clear that there is no difference between the security checks that have always been done at

the Pack Unit, and the wellness checks that TDCJ claims are being performed. Thus, two of the

major mitigation measures touted by TDCJ are ineffectively implemented. The other measures

are either entirely ineffective, or are somewhat effective but still insufficient.




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       The Court is particularly troubled by Defendants’ seeming indifference to heat-sensitive

inmates. It finds that this indifference has permeated all aspects of Defendants’ handling of

extreme heat in the summers, from failing to consider the installation of air conditioning after 23

deaths occurred from heat-related illness, to failing to notify prison officials and inmates when

heat advisories have been issued, to placing Power Breezers in a high-humidity environment,

despite Defendants’ own expert opinion that Power Breezers will be ineffective, and even

harmful, in these conditions. In some cases Defendants’ actions have risen beyond indifference

to obstruction, such as when, after this lawsuit was filed, Warden Herrera ordered his staff to

stop measuring the indoor heat index during the summer months.

       The Court finds and concludes that, based on the credible, reliable evidence in the present

record, Plaintiffs are likely to succeed on the merits of their Eighth Amendment claim that the

conditions of confinement in the Pack Unit create a substantial risk of serious injury or death.

The Court does not reach Plaintiffs’ ADA and RA claims, as insufficient evidence has been

presented for the Court to determine the likelihood of success as to those claims. Plaintiffs are

entitled to a preliminary injunction, as set out in detail below.

       C. The Outdoor and Indoor Heat Index at the Pack Unit

       Texas is famously hot, and the Pack Unit is no exception. The Pack Unit is located five

miles south of Navasota, Texas, about 70 miles northwest of Houston, Texas, in the southeastern

part of the state. Pls.’ Exs. 3 & 4. Officials at the Pack Unit monitor the outdoor heat index on a

daily basis. The heat index is the combination of the temperature and relative humidity, and is a

better indication of how the body “feels” heat than air temperature alone. Docket Entry No. 340




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18 at 7. The heat indices at the Pack Unit during the summer months are represented in the

following chart:11

                                Outdoor Heat Index at the Pack Unit
                                   Heat Index Highs (2011-2016)

           Year               Number of Days:        Number of Days:          Number of Days:
                              High Over 100°F         High 90-99°F             High 80-89°F
           2011                     74                     16                       1

           2012                       45                    43                        2

           2013                       73                    16                        3

           2014                       34                    47                        9

           2015                       11                    71                        9

           2016                       13                    55                        13


          In 2016, the heat index at the Pack Unit reached over 100 degrees on 13 days, and was

between 90 degrees and 99 degrees for 55 days. In 2015, the Pack Unit experienced 11 days on

which the heat index reached over 100 degrees, and 71 days of heat indices between 90 degrees

and 99 degrees. In 2014, there were 34 days of heat indices over 100 degrees, and 47 days of

heat indices between 90 degrees and 99 degrees. In 2013, the number of days over 100 degrees

heat index jumped to 73, with a corresponding decrease to 16 in the number of days between 90

degrees and 99 degrees. In 2012, a summer in which two individuals incarcerated at other TDCJ

facilities died of heat-related illness, the number of days featuring heat indexes over 100 degrees

decreased to 45. In 2011, the year that a heat wave hit Texas that led to the deaths of 10

individuals confined in TDCJ facilities, the Pack Unit experienced 74 days over 100 degrees, just

one more than the number experienced in 2013.


11
     The data is taken from Pls.’ Ex. 6.

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       The heat index was regularly measured inside the dormitories until the present lawsuit

was filed. Hearing Tr. 4 at 108. At that point, Warden Herrera ordered his staff to stop measuring

the temperature and humidity. Id. Thus, the Court does not have as much information about the

conditions inside the dormitories as it does about the conditions outdoors. However, the parties

have stipulated that the readings taken for Professor Thomas Sager’s report, commissioned by

Plaintiffs, accurately depict the heat index for the dormitories that were measured from August

27, 2014 through October 8, 2014. Docket Entry No. 693 at 1. These readings are summarized in

the chart below:




       Professor Sager used the readings above to determine, within a reasonable degree of

statistical certainty, the heat index inside three Pack Unit dormitories for the period of June 17,

2014 through August 26, 2017, a time period when no measurements were recorded. Id. Prof.

Sager used regression analysis, which is a reliable method of statistical analysis, to come to his

conclusions. These heat indices are represented in the following charts:




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        Prof. Sager’s results reveal that the heat indices inside Dormitory A of the Pack Unit

were over 100 degrees for approximately 13 days from June 17, 2014 through October 6, 2014.

In Dormitory C, that number increased to 41 days. Indeed, Dormitory C experienced eight days

where the heat index reached over 105 degrees. Six of those days occurred in the span of a single

week—in other words, there were three days above 105 degrees, one day below 105 degrees, and

then three more above 105 degrees.12 During these seven days, the heat indices never fell below



12
   Although the charts are a helpful visual, they sometimes obfuscate the exact heat index.
However, Prof. Sager provided hourly heat indices as part of his report. (Docket Entry No. 340-
18 at 132-168.) Thus, on the seven days mentioned above, the heat index in Dormitory C reached
106.5 degrees (8/16/14), 105.05 degrees (8/17/14), 106.6 degrees (8/18/14), 104.1 degrees
(8/19/14), 106.1 degrees (8/20/14), 105.1 degrees (8/21/14), and 106 degrees (8/22/14). (Id. at
162-165.)


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80 degrees.13 Docket Entry No. 340-18 at 128. Dormitory D experienced 40 days over 100

degrees.

        In sum, TDCJ’s recordings of the outdoor heat index in 2014 demonstrate a total of 34

days over 100 degrees. Dormitories C and D experienced 41 and 40 days over 100 degrees,

respectively. Accordingly, the Court finds that the conditions in Dormitories C and D are hotter

than the conditions outdoors. Of the three dormitories that were measured, only Dormitory A is

cooler than conditions outdoors. This conforms with, and bolsters, the testimony of several

Plaintiffs, who testified that the dormitories often feel hotter than outside.14

        D. The Effects of Heat on the Human Body

        The Court has heard testimony from several experts about the effects of heat on the

human body. There is little disagreement among the experts about the effects; indeed, this is a

well-studied area of health science and medicine. The process by which the human body

maintains its temperature within a safe physiologic range15 is called thermoregulation. Docket

Entry No. 340-18 at 5. Exposure to heat places pressure on the human body. Hearing Tr. 7 at 8.

In response, the body uses two primary mechanisms to cool itself—evaporative cooling (also

known as perspiration or sweating) and cutaneous vasodilation (dilation of blood vessels close to

the skin). Docket Entry No. 340-18 at 6. These processes are intricately interconnected, and are

managed by the section of the brain called the hypothalamus. Docket Entry Nos. 465 at 52; 340-

13
   This meets the definition of a heat warning, which is issued when the temperature index is
higher than 105 degrees for two consecutive days and does not drop below 75 degrees at night.
Hearing Tr. 5 at 187.
14
   Richard King testified that “some days it’s cooler outside because there is a breeze blowing.”
Hearing Tr. 1 at 29. Similarly, Jackie Brannum testified that “outside you get a little breeze. And
inside the building you don’t get any. It’s extremely hot in the summertime.” Id. at 80.
15
  The body’s safe physiologic range is typically a set point of 98.6 degrees plus or minus 0.8
degrees. Docket Entry No. 340-18 at 5.


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18. Both of these processes release heat from the body into the atmosphere, and are critical to

effective thermoregulation. Docket Entry No. 340-18 at 6. As the external environment gets

hotter and more humid, the body must work harder to cool itself by increasing perspiration and

vasodilation. Id. Perspiration requires sweat gland function, which in turn requires

neurotransmission—the proper functioning of the hypothalamus. Id. Vasodilation also requires

neurotransmission, as well as adequate cardiac output. Cardiac output is important because,

when the body needs to emit heat, the heart must pump faster and harder to get sufficient blood

to the skin, in order to release heat from the blood through the blood vessels at the surface of the

skin. Id.

        Heat illness occurs when the heat created by the environment overwhelms the body’s

ability to dissipate heat into the environment. Hearing Tr. 3 at 52-53. With regard to

vasodilation, the heart can pump only so hard and fast before the body’s need to maintain blood

pressure results in a limitation in vasodilation. This limitation causes the body to begin to

accumulate heat. Docket Entry No. 340-18 at 6. Body temperature can also rise as a result of

dehydration from excessive perspiration. The act of sweating depletes the body of water and salt,

and without adequate replenishment, a person becomes dehydrated. Id. Dehydration causes

dizziness, a lack of energy, low blood pressure, weakness, and an increased heart rate. Id. A

person who is dehydrated and salt-depleted may be unable to increase cardiac output to the

degree necessary to dissipate heat, because the heart does not have enough fluids to squeeze on

in order to meet the required cardiac output. Id; Docket Entry No. 465 at 67-68. Furthermore, at

a certain level of dehydration, the body will stop sweating in order to maintain its fluid levels.

Hearing Tr. 7 at 16.




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       The environment also has an effect on the body’s ability to dissipate heat. Dr. Rieger,

Defendants’ expert, credibly testified that one of the most important ways that the body manages

heat loss is through perspiration. Id. at 12. However, the amount of perspiration that the air can

absorb from the human body is governed by how much humidity is already in the air. Id. At 100

percent humidity, the air can no longer absorb water, and the body will be unable to cool itself

through perspiration. Id. Thus, Dr. Rieger explained, the higher the humidity, the less efficient

perspiration is, and the less efficient perspiration is, the less heat dissipation can take place. Id.

The Pack Unit is located in a humid geographic region, and the housing areas in the Pack Unit

are likewise extremely humid. Professor Sager’s measurements from August 27, 2014, to

October 6, 2014, show that humidity levels in the housing areas were consistently above 80

percent, and often over 90 percent. Docket Entry No. 340-18 at 123-124. The Court finds that the

high humidity levels in the housing areas of the Pack Unit impede the inmates’ ability to cool

their bodies through evaporative cooling.

       Heat stress—conditions that cause the body’s thermoregulatory systems to fully

engage—can cause four major types of heat illnesses. These are heat syncope (fainting), heat

cramps, heat exhaustion, and heat stroke. Docket Entry No. 340-18 at 7. Heat syncope is a brief

loss of consciousness that results from the increased demand on the heart to pump blood to the

skin. Id. The heart becomes so taxed trying to pump enough blood to the skin to cool the body,

generate adequate blood pressure, and provide blood to the brain to maintain consciousness, that

a sudden, brief loss of consciousness may occur. Id. Heat cramps are painful muscle cramps that

result from dehydration and sodium depletion, most often as a result of exercising or working in

a high-heat-index environment. Id.




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        When heat stress begins to overwhelm the body’s ability to cool itself, heat exhaustion

can occur. Id. Although the thermoregulatory systems are fully engaged, the body still cannot

maintain a normal body temperature, and the body’s temperature may begin to elevate. Id. A

person with heat exhaustion may experience chills, a headache, and/or muscle cramps, and may

feel light-headed, thirsty, nauseated, weak, faint, and/or dizzy. Id. at 8. Heat exhaustion may or

may not be accompanied by a rise in core body temperature. Hearing Tr. 7 at 10; Docket Entry

No. 465 at 54. If a person experiencing heat exhaustion does not get out of the heat, heat

exhaustion can lead to heat stroke. Docket Entry No. 340-18 at 8.

        Dr. Rieger testified that heat cramps and heat exhaustion are not serious injuries, and Dr.

Rieger does not classify heat syncope as a major heat illness. Hearing Tr. 7 at 8-10. Dr. Vassallo

opines, however, that there is overlap in all of the above-described heat-related illnesses, and that

this overlap should cause concern about all heat-related illnesses. Docket Entry No. 340-18 at 8.

For example, heat exhaustion may include heat cramps and heat syncope. Id. As a result, Dr.

Vassallo concludes that individuals experiencing any of the above heat-related illnesses should

be removed from a hot environment. Id. The Court finds and concludes that heat syncope is a

type of heat-related illness, and that heat syncope and heat cramps, while not fatal, should be

taken seriously in the correctional context because they could, in fact, be symptoms of heat

exhaustion. Heat exhaustion, in turn, can lead to heat stroke, which is a severe and potentially

fatal condition. Id.

        Heat stroke is defined as an elevation of body temperature above 105.5 degrees,

accompanied by alteration of mental status. Id. The altered mental status could be subtle, such as

inappropriate behavior or impaired judgment, or it could be more obvious, including confusion,

delirium, stupor, coma, or convulsions. Id. The altered mental status is a symptom of brain



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functioning beginning to fail because of the rise in core body temperature. Hearing Tr. 7 at 11.

Once brain functioning fails, the body can no longer thermoregulate, because thermoregulation

requires proper brain functioning. Id. The failure to thermoregulate causes the body’s

temperature to rise, causing inflammation, injury to body tissues, and cell death, ultimately

leading to multiple organ system failure and death. Docket Entry No. 340-18 at 8.

       There are two types of heat stroke: exertional and classical. Id. Exertional heat stroke

occurs when a person is exercising or engaged in strenuous activity in a hot and humid

environment. Id. Classical heat stroke commonly occurs during heat waves, and victims typically

include persons least able to tolerate or escape from heat. Id. Heat stroke is a medical emergency

that must be treated immediately. Hearing Tr. 7 at 11. If not treated, it may result in permanent

brain damage or death. Id. Studies have shown that heat stroke leads to death in 30 to 80 percent

of cases. Docket Entry No. 340-18 at 9. Those who survive may have a permanent inability to

walk and/or talk. Permanent neurological damage occurs in up to 17 percent of survivors. Id.

       Symptoms of less serious heat-related disorders may portend heat stroke. Id. at 8.

However, Dr. Vassallo credibly reports that these symptoms do not always occur: often, the body

develops heat stroke rapidly, and with little warning. Id. at 7. Once heat stress overwhelms the

body’s ability to cool itself, the body’s temperature can rise very rapidly, sometimes leading to

life-threatening manifestations of heat stroke, such as a seizure, within 10 or 20 minutes. Id.

Furthermore, two-thirds of heat stroke victims experience symptoms for less than one day before

becoming hospitalized or being found dead. Id. The rapid onset of heat stroke means that even

frequent observations of persons at high risk of heat stroke are unlikely to give adequate warning

of impending heat stroke. Id. A person who begins to suffer from heat stroke may be unable to

remove himself from heat or call for help because of altered mental status. Id. at 8.



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        Heat stroke is widely recognized to be vastly underreported. Docket Entry Nos. 460 at

91; 340-18 at 41. Heat-related deaths sometimes go unrecognized when medical personnel fail to

consider the conditions in which the individual died, and the possibility that the death was heat-

related. Docket Entry No. 340-18 at 41. Furthermore, a medical examiner or doctor may not

conclude that the cause of death was heat stroke if the body’s temperature is not above 105

degrees, which is the medical threshold for heat stroke. Docket Entry No. 460 at 90-91. But the

deceased are often not found in time to measure accurate core body temperature before the body

begins to cool. Id. Finally, because heat-related illnesses can cause various symptoms and

exacerbate a wide range of existing medical conditions, the etiology of the death can be difficult

to establish. Docket Entry No. 340-18 at 41.

        Compelling evidence convinces the Court that heat-related illnesses short of heat stroke

are also underreported. Dr. Vassallo stated that hospitalizations and emergency room visits are

categorized by the primary diagnosis, without reference to underlying factors that contributed to

that diagnosis. Id. at 42. Thus, the role of heat in exacerbating an underlying condition is rarely

acknowledged or reported. Furthermore, heat cramps and heat exhaustion are not reported in the

medical community, so there is no way to determine the rates of heat exhaustion and heat cramps

that occur in the free world. Hearing Tr. 7 at 47. Even if heat cramps and heat exhaustion were

reported, not everyone experiencing those illnesses will go to the doctor or the hospital—many

will treat the condition themselves. Finally, Dr. Vassallo testified that, while the heat-related

illnesses described above may occur from short-term exposure to heat, long-term exposure to

heat is generally bad for one’s health, and increases the risk of mortality from other conditions.16




16
  The Court finds that Dr. Vassallo’s expert report and testimony regarding the effects of heat on
the human body were extremely thorough, and that she has extensive knowledge on this subject.

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Docket Entry No. 465 at 86-87. The intersection of heat and other medical conditions is explored

further below.

                 1. The Effects of Heat on an Individual with Comorbidities

       Individuals with certain conditions are at higher risk for heat-related illnesses, as those

conditions impede thermoregulatory functioning. Conversely, heat stress often exacerbates the

underlying condition, which can lead to permanent injury and/or death. Dr. Vassallo contends

that “many more people die each year from heat-induced exacerbations of underlying medical

vulnerabilities than die from heat stroke.” Docket Entry No. 340-18 at 10. The diseases or

conditions that are widely believed to increase the risk of heat illness are described below, in no

particular order. The majority of these conditions are already recognized in CMHCC’s list of

“Common Comorbidities That May Affect Heat Tolerance.” Defs.’ Ex. 4 at 10. The document

indicates that the list is not all-inclusive, and notably absent from the list is obesity, which both

Plaintiffs’ and Defendants’ experts averred should be included on the list. Docket Entry No. 465

at 62; Hearing Tr. 7 at 73-74.

                       a. Diabetes

       Diabetes causes microcirculatory changes that result in blood vessels that are unable to

dilate adequately (a condition known as arteriosclerosis). Hearing Tr. 7 at 18-19; Docket Entry

No. 340-18 at 14. This impairs the body’s ability to circulate blood to the brain and heart,

disrupting the vasodilatory response to heat. Docket Entry No. 340-18 at 14. Diabetes may also

impair kidney function, and the kidneys’ ability to maintain salt-water balance is an important

part of the body’s response to heat. Id.




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                       b. Obesity

       Obesity causes an increased risk of heat-related illness because excess fat beneath the

skin can impair the skin’s ability to dissipate heat. Docket Entry No. 465 at 117. The connection

between obesity and heat-related illness has been demonstrated in scientific studies, and

Defendants’ expert does not deny the association. Id.; Hearing Tr. 7 at 74. The Court thus finds

and concludes that obesity is a common comorbidity that affects heat tolerance, despite its

absence from CMHCC’s list.

                       c. Cardiovascular Disease

       Cardiovascular disease, which includes chronic hypertension and arteriosclerosis, causes

a decrease in a person’s “cardiac reserve”—the ability to increase cardiac output. Hearing Tr. 7

at 18; Docket Entry No. 340-18 at 14. This means that the heart of an individual with

cardiovascular disease cannot pump as hard or as fast as necessary to dissipate heat through

vasodilation, impacting the individual’s ability to thermoregulate. Hearing Tr. 7 at 18. The stress

that is placed on the heart from having to pump harder and faster than normal can also cause

damage to the heart, and in some cases can cause the heart to fail. Id.

                       d. Psychiatric Conditions

       Individuals suffering from psychiatric diseases are at an increased risk of heat-related

illnesses because they may have impaired behavioral responses to heat stress. Docket Entry No.

340-18 at 15. They may not have the ability to reason or to help themselves during a period of

heat stress, because their illness may adversely affect their mood, thinking, or behavior. Id More

specifically, individuals suffering from depression or anxiety may be unable to communicate

well with others, or may experience apathy in the face of challenging circumstances, such as heat

stress. Id. In sum, individuals with psychiatric conditions may not be able to take advantage of



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mitigating measures, recognize the symptoms of heat-related illness when they occur, or ask for

help when needed. Id.

                        e. Advanced Age

       Individuals who are over the age of 65 are at increased risk for heat-related illness for

several reasons. Docket Entry No. 465 at 89. One reason is that, as a person ages, his

cardiovascular reserve decreases, limiting the ability of the heart to pump as hard and fast as

required by heat stress. Id. A person’s ability to sense temperature will also decrease with age.

Id. Furthermore, sweat gland functioning decreases, impeding the body’s ability to cool itself

through perspiration. Id. Thus, both of the major physiological systems responsible for

thermoregulating are negatively impacted by advanced age. Id. at 90.

                        f. Pulmonary Disease

       People with pulmonary disease, such as Chronic Obstructive Pulmonary Disease

(“COPD”), have diseased lungs that cause problems with oxygenation and ventilation. Docket

Entry No. 340-18 at 14. COPD is an umbrella term for various lung diseases, including

emphysema and asthma. People with COPD have a limited ability to oxygenate the body, and

any stressor to the lungs, such as heat and humidity, will worsen their underlying condition. Id.

Furthermore, pollutants are worse in hot weather, and pollutants exacerbate asthma. Id. These

conditions also make people more susceptible to illnesses precipitated by excessive heat. Id.

                        g. Sweat Gland Dysfunction

       Although sweat gland dysfunction was not discussed by Plaintiffs’ expert or Defendants’

expert, it is on CMHCC’s list of common comorbidities that affect heat tolerance. It is clear to

the Court, based on other testimony, that if a person’s sweat glands do not function properly, the




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body’s ability to cool itself through perspiration will be impeded, leading to an increased risk of

heat-related illness.

                        h. Cirrhosis of the Liver, Cystic Fibrosis, & Thyroid Dysfunction

        Despite their presence on CMHCC’s list of common comorbidities, neither party’s expert

discussed the physiological reasons why cirrhosis of the liver, cystic fibrosis, and thyroid

dysfunction lead to an increased risk of heat-related illness. However, both experts testified that

these conditions create an increased risk, and the Court has no grounds on which to question this

assertion.

                2. The Effects of Heat on an Individual Taking Certain Medications

        In addition to underlying conditions that exacerbate the effect of heat on the body, certain

medications can impede the body’s ability to thermoregulate, thereby increasing the likelihood of

heat-related illness. This can occur in a variety of ways, usually by impacting the two major heat

regulation systems—perspiration and vasodilation—or by affecting the body’s “thermostat”—the

hypothalamus. There is very little dispute among the parties about the effects of certain

medications on the body’s ability to thermoregulate. Indeed, the categories of drugs described

below come from CMHCC’s own list of “Drugs Associated with Heat Stress.” Defs.’ Ex. 4 at 7.

                        a. Anticonvulsants

        Anticonvulsants increase the likelihood of heat illness by affecting the neurotransmitters

that allow the hypothalamus to function. Docket Entry No. 465 at 63-64. The hypothalamus is

then impeded in its ability to monitor and regulate body temperature through perspiration and

vasodilation. Id.




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                      b. Anticholinergics & Antihistimines

       Anticholinergics and antihistimines are used to treat a variety of conditions, including

respiratory disorders. They work by blocking acetylcholine, which is the neurotransmitter that

drives sweat glands. Id. at 64-65. Thus, anticholinergics and antihistimines increase the

likelihood of heat illness by interfering with the body’s ability to sweat. Anticholinergics and

antihistimines also impact the hypothalamus, though those effects are less understood. Id. at 66.

                      c. Antipsychotics

       Antipsychotics block acetylcholine, similar to anticholinergics and antihistimines. Thus,

antipsychotics inhibit the body’s ability to sweat. Id. at 65. Antipsychotics also affect dopamine,

which is one of the major neurotransmitters involved with the hypothalamus. Id. Like

anticonvulsants, antipsychotics impede the hypothalamus’s ability to monitor and regulate body

temperature. Id. Finally, antipsychotics can affect the body’s ability to vasodilate properly. Id.

Thus, antipsychotics negatively impact the bodily systems used to regulate temperature, as well

as the part of the brain responsible for those systems. All antipsychotics come with a specific

warning from the manufacturers to avoid heat and dehydration, as noted in CMHCC’s heat

policy. Defs.’ Ex. 4 at 7. Additionally, CMHCC’s policy states that “offenders on antipsychotic

drugs should not be allowed to work or recreate in environments where the apparent air

temperature is 95 degrees or higher.” Id.

                      d. Antidepressants

       The antidepressants listed in CMHCC’s heat policy are all cyclic antidepressants, which

means they are strongly anticholinergic, and therefore impede the body’s ability to perspire.

Docket Entry No. 465 at 66. They also impact the hypothalamus. Id.




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                       e. Antimanics

       According to Dr. Vassallo, lithium, which is the primary drug prescribed to treat mania,

does affect the body’s ability to thermoregulate, by impacting electrolytes, renal effects, and the

kidney system. Docket Entry No. 465 at 66. CMHCC states, on the other hand, that lithium does

not disrupt the body’s ability to thermoregulate. Defs.’ Ex. 4 at 7. However, lithium is on

CMHCC’s list of drugs associated with heat stress because, “if an offender treated with lithium

becomes dehydrated, they are at an increased risk of lithium toxicity.” Id. Because both parties

recognize that individuals taking lithium are at an increased risk from heat stress, the Court finds

that it does not need to resolve the issue of whether lithium affects the body’s ability to

thermoregulate.

                       f. Beta Blockers & Calcium Channel Blockers

       Beta blockers and calcium channel blockers are used to treat cardiovascular disease.

Docket Entry No. 340-18 at 15. They work by impairing the heart’s ability to squeeze, and

reducing the speed at which the heart beats, thereby lowering cardiac output. Id. However, this

also means that the heart cannot pump as fast or as hard as it would need to in order to dissipate

heat through vasodilation. Docket Entry No. 465 at 67.

                       g. Diuretics

       Diuretics—also known as “water pills”—cause a loss of fluid from the body, and can be

dehydrating. Id.

               3. The Effects of Heat on an Individual with Multiple Comorbidities and/or
                  Who Takes Certain Medications

       Dr. McGeehin credibly testified that an individual with any one of the above-described

medical conditions, or taking any of the above medications, will be at an increased risk for heat-

related illness. Docket Entry No. 460 at 62. This risk is further heightened, Dr. McGeehin stated,


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when an individual has some combination of the conditions and/or medications, particularly

those individuals over the age of 65. Id. Indeed, CMHCC’s own policy states that offenders who

take medications on the “Drugs Associated with Heat Stress” list should not be allowed to work

or recreate in environments where the apparent air temperature is 95 degrees or higher if they are

on more than one such medication, or if they also have an underlying medical condition that

places them at increased risk.17 Defs.’ Ex. 4 at 7.

        All but one of the Plaintiffs who testified meet these criteria. Richard King is over the age

of 65 and suffers from high blood pressure, diabetes, and obesity. He is also on two medications

associated with heat stress. Hearing Tr. 1 at 13-14. Jackie Brannum suffers from high blood

pressure, diabetes, obesity, and schizoaffective disorder. Id. at 73-75. He currently takes eight

medications that exacerbate heat stress. Id. Thomas Pennington suffers from high blood pressure,

diabetes, and obesity, and takes two medications associated with heat stress. Id. at 128-129.

Carlos Huerta suffers from high blood pressure, is obese, and takes one medication associated

with heat stress. Id. at 163. Keith Cole suffers from chronic cardiovascular disease, high blood

pressure, high cholesterol and diabetes. Id. at 200. He takes three medications that are associated

with heat stress. Pls.’ Ex. 22.

        The Court finds and concludes that heat stress can lead to heat-related illnesses even in

young and healthy individuals. However, this risk is heightened when an individual is over the

age of 65, has a condition that impedes the body’s ability to thermoregulate, or takes a

medication that impedes the body’s ability to thermoregulate. This risk is further heightened

when these conditions and medications are combined in any way.
17
   The policy also mandates that individuals on antipsychotics be given a heat restriction. Defs.’
Ex. 4 at 7. The Court notes, and discusses in more detail in Section I.G.1.c, that heat restrictions
in TDCJ apply to work assignments, but have no impact on the placement of an inmate in one of
the 32,000 air conditioned beds that exists in TDCJ. Hearing Tr. 5 at 85.


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               4. The Heat Index Threshold for Heat Illness

       As temperatures and humidity rise, the risk of heat-related illnesses rises. Dr. Vassallo

credibly testified that, based on her several decades of clinical experience and a thorough review

of the existing literature, temperatures above a heat index of 88 degrees significantly increase the

risk of heat-related illness. Docket Entry No. 465 at 70, 77. While prolonged exposure to a heat

index above 88 degrees increases the risk of heat-related illness for even young and healthy

individuals, those with heat sensitivities may suffer heat-related illnesses within a few hours. Id.

at 71. As the heat index increases into the 90s and 100s, that risk becomes more pronounced.

This is illustrated by the National Weather Service’s Heat Index Chart:




Pls.’ Ex. 11. The National Weather Service (“NWS”) is a division of the National Oceanic and

Atmospheric Administration, and the above chart is widely accepted within the field of

climatology. Docket Entry No. 465 at 73. Indeed, TDCJ uses the chart in Administrative

Directive 10.64, and CMHCC uses a version of this chart in its heat policy. Defs.’ Exs. 1 at 14; 4

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at 5. The chart demonstrates that, while a heat index of 88 degrees falls at the high end of the

“caution” section, as temperatures and humidity increase, the level of danger also rises.

        Dr. Vassallo testified that her clinical experience and the chart above informed her choice

of 88 degrees as the heat index threshold, and that her review of the scientific literature

subsequently confirmed this number. Docket Entry No. 465 at 75-76. For example, one study she

reviewed found that mortality increased in cities in North America, Europe, and South America

when temperature and humidity climbed above the 88 degree heat index. Id. at 77. Another study

showed an increase not only in mortality, but also in emergency department visits and

hospitalizations, above a heat index of 89 degrees. Id. at 81-83. Dr. Vassallo did not testify, and

the Court does not hold, that any risk of heat-related illness disappears below the 88-degree

threshold, or that the risk of heat-related illness skyrockets at the 89-degree mark. The NWS

chart is designed to demonstrate a gradually increasing level of risk, which is appropriate for the

scientific understanding of how heat stress affects the human body. But for purposes of litigation,

the Court has no basis upon which to question Dr. Vassallo’s choice of 88 degrees as a threshold

above which the risk of heat-related illness increases, and the Court finds that this choice is

sound. Specifically with regard to Plaintiffs in this case, Dr. Vassallo concluded that all of the

inmates at the Pack Unit, “including young and healthy men with no known medical problems,

are at substantial risk for serious heat-related disorders during periods of persistent exposure to a

heat index above 88 degrees.” Docket Entry No. 340-18 at 11. The Court agrees.18

18
   Defendants do not appear to dispute this finding. They presented no evidence at the 2017
hearing alleging that inmates are not placed at a risk of harm by the temperatures and humidity at
the Pack Unit. Although Dr. Kathryn Means, who testified at the 2016 hearing, took issue with
Dr. Vassallo’s application of epidemiological studies to the population at the Pack Unit, the
Court found her testimony to be biased and not credible. Docket Entry No. 473 at 10. Instead,
Defendants contend that any risk has been effectively mitigated by the measures currently in
place at the Pack Unit. Docket Entry 641 at 9 (“The protective measures currently in place at the
Pack Unit are effective and ameliorate the risk that inmates might otherwise face in the summer

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       The Court further finds that the heat indices in the housing units of the Pack Unit, as

measured and aggregated by Dr. Sager in 2014, climbed above this 88-degree threshold—often

well above—for 100 of the 106 days measured between June 27, 2014 and October 6, 2014.

Although the Court’s analysis would be assisted by the provision of more recent heat indices in

the Pack Unit housing areas, Warden Herrera ordered his employees to stop taking those

measurements when the present lawsuit was filed. Defendants have provided no evidence that

the heat indices recorded in 2014 were anomalous, and the Court has no reason to believe that

they are not representative of the majority of summers at the Pack Unit.

       Indeed, during the hearing on Plaintiffs’ motion for preliminary injunction, a heat

advisory was issued for Grimes County, where the Pack Unit is located, indicating that the heat

index was expected to rise “near or above 108” degrees that day. Hearing Tr. 6 at 136-137;

Defs.’ Ex. 138. These temperatures fall into the “Danger” category of the NWS heat index chart.

Hearing Tr. 6 at 137. TDCJ’s “Training Circular” on extreme heat, which is given to inmates and

staff, instructs that, when a heat advisory is issued, inmates and staff should, “Take Action! A

Heat Advisory is issued within 12 hours of the onset of extremely dangerous heat conditions . . .

Take precautions to avoid heat illness. If you do not take precautions, you could become

seriously ill or even die.” Pls.’ Ex. 53 at 2; Docket. Entry No. 326 at 25.

       There was some question at the hearing as to why Warden Herrera had not received a

notice of this heat advisory from the state operations center for TDCJ, the department in charge

of monitoring NWS advisories and disseminating them to the appropriate officials. Hearing Tr. 5

at 182. Cody Ginsel, the Rule 30(b)(6) representative for TDCJ, testified that Warden Herrera

did not receive the heat advisory because “[the state operations center] receive[s] these pretty

much every day during the summer.” Id. at 182-183. Thus, TDCJ’s own representative concedes

temperatures without the measures.”).

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that heat indices up to or over 108 degrees are such regular occurrences during Texas summers

that TDCJ does not disseminate the advisories to the affected regions. Furthermore, while urging

inmates to “take action” and “take precautions” in the face of a heat advisory, TDCJ does not

alert the affected prison officials, much less the inmates, when these heat advisories are issued.

That heat advisories are issued so often in Texas does not mean that the risk is any less, nor does

it excuse TDCJ from the obligation to alert affected populations and take the necessary steps to

protect inmates. If anything, the routineness of these heat advisories reveals the extremity of the

heat in Texas in the summer months, and TDCJ’s knowledge of the risk posed by this heat.

        Accordingly, the Court finds and concludes that, during the summer months, the men

incarcerated in the Pack Unit face, on a daily basis, temperatures that substantially increase their

risk of heat-related illness, aggravate any underlying medical conditions, or both. While this risk

is pronounced even for young and healthy individuals, the risk increases significantly for

individuals with certain medical conditions, who are on certain medications, and/or who are

above the age of 65. The Court must next address the mitigating measures that TDCJ has

implemented in the Pack Unit and other facilities, and determine whether those measures reduce

this risk of harm to a constitutional level.

        E. Conditions in TDCJ Facilities, Including the Pack Unit, Prior to 2013

        TDCJ has made some changes to the conditions in the Pack Unit and other facilities over

the last few years—after a series of heat-related deaths in 2011 and 2012, and after this and other

related lawsuits were filed against TDCJ and its officials. TDCJ’s heat mitigation measures are

described in two documents: Administrative Directive 10.64, entitled “Temperature Extremes in

the TDCJ Workplace,” and an annual “Heat Precaution” message that is sent via email. Pls.’ Exs.

42, 57. In 2011, the heat precaution message instructed wardens to: provide additional water in



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the housing areas, and provide ice water if ice was available; train employees and inmates to

make them aware of the signs of and treatment for heat-related illnesses; situate fans, when used,

in such a way to draw air through the structure and exhaust it outside; use air blowers to increase

ventilation, when appropriate; allow additional showers for inmates when feasible; allow inmates

to wear shorts in dayrooms and recreational areas; clean window screens to ensure maximum air

flow; allow all inmates to purchase fans; and ensure that inmates who have been indigent for the

past six months and cannot afford to buy a fan are issued a fan, on a first-come-first-served basis.

Pls.’ Ex. 57.

        As explained in this Court’s opinion in McCollum v. Livingston, these measures were

inadequate, in large part because they allowed significant discretion on the part of each warden:

with regard to how much water to provide; whether to provide ice, and if so, how much; and

whether to allow additional showers. McCollum v. Livingston, No. 4:14-CV-3253, 2017 WL

608665, at *15 (S.D. Tex. Feb. 3, 2017). Additionally, no respite program existed before 2015.

Hearing Tr. 4 at 27.

        F. Heat-Related Deaths and Illnesses in TDCJ Facilities

        From 1998 to present, at least 23 men incarcerated in TDCJ facilities have died as a result

of heat-related illnesses.19 Pls.’ Ex. 18. Although TDCJ makes much of the nationwide heat wave

in 2011 which caused the death of 10 men in TDCJ facilities (Hearing Tr. 6 at 148), the other 13

deaths were spread over the course of eight summers: three men died in 1998, two men in 1999,

one man in 2000, another in 2001, one in 2003, one in 2004, two in 2007, and two in 2012. Pls.’

Exs. 18, 19. Defendants have presented no evidence that Texas experienced abnormally high

temperatures during those summers, as it did the summer of 2011. Although no deaths have
19
   Given Drs. McGeehin and Vassallo’s testimony about the underreporting of heat-related death,
this number may in fact be larger. See Section I.D supra.


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occurred since 2012, this does not necessarily mean that the risk of death has been eliminated.

Indeed, three summers passed between 2007 and 2011 without any heat-related deaths, but the

10 deaths in 2011, and the two in 2012, reveal that the risk was still very real.

        Since 2011, TDCJ has made an effort to track heat-related illnesses in its facilities. With

the caveat that heat-related illnesses are likely vastly underreported, reports collected by TDCJ

show that in 2011, 163 incidents of heat-related illness20 were reported in facilities across the

state. Pls.’ Exs. 16; 21. One hundred and nine of these incidents occurred indoors. Id. In 2012,

the total number of heat-related illnesses fell to 118, with 56 of those incidents occurring

indoors. Id. In 2013, 118 total incidents were reported, with 45 occurring indoors; in 2014, 97

total incidents were reported, with 42 occurring indoors; and in 2015, 94 total incidents were

reported, with 55 occurring indoors. For the summer of 2016, 108 heat-related illnesses were

reported, with 62 occurring indoors.

        It is also clear is that correctional officers employed by TDCJ are suffering heat-related

illnesses while on duty at the facilities. During this litigation, TDCJ produced records evidencing

heat-related illnesses suffered by hundreds of correctional officers. Pls.’ Ex. 16 at 160-266.

        Despite the significant number of deaths, and the large number of heat-related illnesses

suffered by inmates and correctional officers alike, the Court finds that TDCJ has never seriously

considered air conditioning the housing areas of its facilities. Hearing Trs. 6 at 160-161, 214-

215; 7 at 135.




20
  TDCJ defines a heat-related illness as heat cramps, heat exhaustion, or heat stroke. Especially
with inmates who have other morbidities, there would appear to be enormous discretion in
determining whether illnesses are called “heat related” or something else—e.g., diabetic,
psychiatric, or cardiovascular.

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          G. The Current Conditions in the Pack Unit

          Defendants have presented extensive evidence regarding the mitigation measures

currently in place, and they assert that these measures are effective at reducing the risk of heat-

related illness faced by inmates during the summer months. Docket Entry No. 641 at 9.

                 1. Heat Mitigation Measures

          While there is little debate about the existence of some of TDCJ’s mitigation measures,

others are keenly contested. What follows is a summary of each of the mitigation measures that

TDCJ claims it has implemented, as well as this Court’s factual findings regarding its

implementation and effectiveness.

          Ice Water

          There is no dispute that TDCJ now provides ice water in all of the housing areas, 24

hours a day, 7 days a week. Hearing Tr. 1 at 227. Cups are issued to indigent individuals upon

arrival at the facility; otherwise, cups are purchased at the commissary. Hearing Trs. 5 at 148; 6

at 129.

          The ingestion of cold water is a beneficial method of controlling or reducing body

temperature; furthermore, the ingestion of water is essential in a hot environment in order to

avoid dehydration, because of the amount of perspiration that occurs. Hearing Tr. 7 at 24; Docket

Entry No. 340-18 at 6. Dr. Rieger explained that cold water helps cool down the body through

conduction—the transfer of heat between two objects. Hearing Tr. 7 at 21-22. Essentially,

conduction occurs when cold water has direct conduct with the warm stomach; heat energy

transfers until both the stomach and the water are the same temperature. Id. at 24. The Court

finds that Dr. Rieger’s testimony regarding the cooling effects of drinking cold water is valid,

and that providing ice water in the housing areas 24 hours a day is a helpful mitigation measure.



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However, Dr. Vassallo pointed out that there are potential adverse side-effects to drinking

excessive water, such as a condition called hyponatremic, where the body’s level of sodium

becomes abnormally low. Docket Entry No. 465 at 168. Given the helpful but limited cooling

effect of ice water, the levels of heat faced by the men incarcerated at the Pack Unit, and the

potential hazards incurred by drinking too much water, the Court finds that ice water alone could

never suffice to mitigate the risk of injury.

       Cool-Down Showers

       Defendants have also instituted “cool-down showers” at the Pack Unit. Hearing Tr. 1 at

204-205. For the dormitories in the main building, the communal shower area, with 72 shower

heads, has 12 shower heads set to cold water at all times. Twice a day, all 72 showers are

switched to cold water, and all of the men living in the dormitories are allowed to take showers.

Hearing Tr. 3 at 31-32; 110-111. Furthermore, Warden Herrera testified that, if any person in the

main-building dormitories wants a cool-down shower, “all he needs to do is ask a staff member,

and he is going to be directed to the shower area.” Id. at 31-32; 111. In order to test his staff’s

compliance with this policy, Warden Herrera has, on an unknown number of occasions, asked an

inmate to request a shower, and then followed up to see if permission was granted. On one

occasion, the inmate was not allowed to access the showers, and Warden Herrera instructed the

correctional officer at that time that inmates must be allowed to go to showers upon request. Id.

at 111-112. However, there are no documents, flyers, or training programs informing inmates in

the main-building dormitories that they can access cold showers at any time. Hearing Tr. 1 at 60-

61; 205. Some of the Plaintiffs testified that they were unaware that they could access cool-down

showers at any time. Id. at 141; 204; 229. Other than Warden Herrera’s informal conversations

with inmates at the Pack Unit, there has been no effort made to inform inmates about the



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beneficial health effects of taking cool showers during the summer months. Hearing Tr. 4 at 198-

199.

       The wheelchair-accessible dormitories, Dormitories A2 and A4, have one handicapped-

accessible shower inside each dormitory. Hearing Tr. 3 at 31-32. These showers have an

adjustable handle that allows the inmate to choose between cold or hot water. Id. at 32. In the

expansion dormitory, one shower is set up to run cold water. Id. at 34. Because the shower is in

the dormitory, inmates do not need to request permission to access it. Id. at 34. However, 56 men

live in the expansion dormitory, and must share the single cold-water shower. Hearing Tr. 1 at

30. Mr. Huerta testified that there is sometimes a line to use this shower. Id. at 198. In the trusty

dormitory, Warden Herrera believes that all of the showers have an adjustable handle, allowing

them to run hot or cold. Hearing Tr. 3 at 37.

       Dr. Rieger credibly testified that cold showers help to cool the body by transferring heat

from the body into the water molecules, also through conduction. Hearing Tr. 7 at 26. Water is

an efficient means of removing heat from the body. In fact, immersion in an ice bath is the most

generally accepted treatment for heat stroke. Id. at 26. However, Dr. Rieger also testified about

the possibility of developing hypothermia—a dangerous decrease in the body’s temperature—by

taking a cold shower when one is not overheated. Id. at 27, 29-30. The Court finds that cool-

down showers are an effective means of cooling the body when the body is overheated.

However, the Court finds that cool-down showers are a less effective mitigating measure for

preventing individuals from becoming overheated in the first place. Indeed, Dr. McGeehin

credibly testified that showers reduce the body’s temperature for the short term, but that the

beneficial effect is limited by putting the body back into a hot and humid environment. Docket

Entry No. 460 at 45-45. This testimony supports and bolsters the testimony of the plaintiffs, who



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credibly and consistently testified that the cool-down showers help while they are in the shower

and for a brief time afterward, but that within 15-20 minutes they are again sweating profusely

and feeling hot. Hearing Tr. 1 at 43; 87; 118; 141.

       Fans

       Each housing area contains two large ceiling fans and one large floor fan. Defs.’ Ex. 27;

Hearing Tr. 3 at 36-37. Additionally, each inmate is allowed to buy a personal fan for use in his

cubicle. Hearing Trs. 4 at 244; 5 at 121. Each cubicle has a power outlet. Hearing Tr. 8 at 72. If

an individual is indigent, he is provided a fan through a loan program. Hearing Trs. 4 at 199; 5 at

121. Just before the hearing on Plaintiffs’ motion for injunctive relief, TDCJ installed eight

Power Breezer units in some of the Pack Unit housing areas. Hearing Tr. 5 at 170. A Power

Breezer is a large oscillating fan that produces a light mist. Id. Defendants readily admit that

these fans are not designed to cool down the entire housing area; instead, they are supposed to

create a slight cooling effect for inmates standing directly in front of them. Id.

       The Court finds that Defendants have made a genuine effort to ensure that there are

adequate fans in the housing areas at the Pack Unit. But there are significant problems with their

heavy reliance on fans as a mitigation measure. First, the Center for Disease Control (“CDC”)

does not recommend the use of fans above a 95 degree heat index, as fans actually increase heat

stress by blowing air that is warmer than the body’s temperature over the skin’s surface. Docket

Entry No. 460 at 37-38. Another study found that “the use of fans indoors in rooms without air

conditioning should be strongly discouraged . . . when the heat index exceeds . . . 99 degrees

Fahrenheit.” Id. at 38. Indeed, TDCJ’s own “Training Circular” about heat, which is distributed

to all inmates, instructs, “Do not direct the flow of portable electric fans toward yourself when

room temperature is hotter than 90 degrees. The dry blowing air will dehydrate you faster,



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endangering your health.” Pls.’ Ex. 53 at 1. The Court also notes that the CDC advises

individuals to “not rely on a fan as your primary cooling device” during periods of extreme heat.

Defs.’ Ex. 88 at 2. Accordingly, the Court finds that the use of fans is unhelpful, and potentially

harmful, when the heat index exceeds 95 degrees, as is regularly the case in the housing areas of

the Pack Unit.

       As to the Power Breezers, Defendants’ own expert, Mr. Traknyak, testified that, given the

high humidity of the climate at the Pack Unit, Power Breezers are not a good idea, as they simply

increase the moisture in the air. Hearing Tr. 8 at 70-71. Indeed, Mr. Traknyak had previously

opined that evaporative coolers are effective in dry climates, and therefore would not be effective

in the Hutchins Unit, which is located outside of Dallas, Texas. Id. at 115-116. Dallas has a less

humid climate than the Pack Unit, which is significantly closer to the Gulf of Mexico. Id. at 116.

Thus, in Mr. Traknyak’s opinion, Power Breezers would be even less effective at the Pack Unit

than at the Hutchins Unit. Id. at 116. Because Power Breezers do not cool the housing areas, but

instead increase the humidity in an already-humid environment, the Court finds that these units

are not only ineffective, but potentially harmful. Furthermore, because TDCJ placed these units

in the Pack Unit one week before the preliminary injunction hearing, without asking their own

expert if they would be effective, the Court finds that this was not a serious attempt to mitigate

the heat.

       Relaxed Dress Code

       Men living at the Pack Unit are allowed to wear shorts and t-shirts in the housing areas

during the summer months. Hearing Tr. 5 at 167. They are not allowed to go without a shirt. Id.

When they go to other areas of the unit, they are required to wear long pants. Id. Dr. McGeehin

testified that the less clothing one wears in warm climates, the more comfortable one will be,



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because perspiration is aided by the exposure of skin to moving air. Docket Entry No. 460 at 41.

Thus, a person in a hot, humid climate will be more comfortable in shorts and a t-shirt than a

suit. Id. However, Dr. McGeehin emphasized that this is true only up to a certain temperature,

and that there have been no peer-reviewed studies conducted to test the efficacy of wearing

shorts as a heat-mitigation measure. Id. at 41-42. The Court finds that, while wearing shorts and

a t-shirt in extreme heat is certainly more comfortable than having to wear long pants and a long

sleeve shirt, and might have a minimal cooling effect, it does not substantially help to cool the

body.

        Open Windows

        All of the housing areas except for the expansion dormitory have windows that can be,

and are, opened during the summer months. Hearing Tr. 5 at 151. This allows for a breeze, if

there is one, to enter the housing units, and for ventilation to occur. The expansion dormitory has

windows that do not open; in order to provide ventilation, the Pack Unit has a ventilation system

and a large fan to circulate the air. Id. Open windows can have a cooling effect only when there

is cool air or a breeze to blow through them. Thus, during the hottest part of the day, windows

will have no cooling effect. Plaintiffs testified that the open windows do little to help with the

heat in the housing areas, because “when it’s hot it’s hot air [] coming in the window.” Hearing

Tr. 1 at 141. Given the extremely hot and humid outdoor temperatures at the Pack Unit that

occur on a daily basis during the summer, the Court finds that having windows open during the

daytime provides a minimal cooling effect, if any. The Court additionally finds that having the

windows open at night would provide a cooling effect if the heat index drops. However, this

effect could occur only to the degree that the heat index drops. The Court also notes that this

cooling effect would not be felt by those incarcerated in the expansion dormitory, who do not



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have access to open windows. Thus, although temperatures have not been taken in the expansion

dormitory since the start of this litigation, the Court doubts that the temperature of the expansion

dormitory would decrease significantly at night, the way it does in other housing areas. See

Section I.C supra.

       Furthermore, although open windows provide some cooling effect at night, Plaintiffs

have credibly complained of insects, such as mosquitos and beetles, that consistently enter the

housing units through the wire security screen and bite them. Hearing Tr. 1 at 88; 141-142; 222.

       Respite Areas

       One of the most recent, and most debated, mitigation measures implemented at the Pack

Unit is its respite program. Hearing Tr. 4 at 27-28. Both parties agree that respite—the ability to

spend time in an air conditioned environment—can be a beneficial mitigation measure. The

parties dispute the extent to which respite, in general, can reduce the risk of harm posed by heat,

as well as the adequacy of the Pack Unit’s respite program, specifically.

       The 2017 “Heat Directive” email sent to all TDCJ officials dictates that, “[d]uring

extreme temperatures, offenders must be allowed access to respite areas,” but gives no other

guidance or direction. Defs.’ Ex. 7 at 1. Although the Pack Unit does not have air conditioning in

the housing areas, like other TDCJ facilities, it contains many air conditioned locations. These

locations include the infirmary, the education department, a barbershop located inside the main

building, hallways, the officer dining room, and all administrative offices. Pls.’ Ex. 129.

       Defendants maintain that inmates can access all of these locations at any time, on request,

and that they may stay in the areas for as long as they want. Docket Entry No. 641 at 11 (“Staff

have identified 20 different air conditioned areas that may be accessed as respite wherein

offenders may remain for an unlimited time in order to cool down. Offenders are granted access



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to one of these areas on request, without exception.”). Defendants further claim that “there are

few or no restrictions on what an offender may bring to a respite area,” and that inmates are

allowed to talk to each other in the respite areas. Id.

       Despite the seemingly inviting and open nature of the respite program described above,

the evidence revealed that very few men have been requesting or using respite: when the hearing

started, only 15-20 inmates had ever used respite at the same time. Hearing Tr. 4 at 31. The

parties disagreed about why respite areas were being utilized in such low numbers, considering

the seriousness of the heat in the housing areas. Mr. Ginsel testified that the reason is because

“they choose not to go.” Hearing Tr. 5 at 147. This statement is belied by the overwhelming

weight of the evidence.

       To start, Warden Herrera testified that inmates at the Pack Unit are not allowed to choose

which area they go to for respite, but are instead directed to an area by a correctional officer.

Hearing Tr. 4 at 31. Once that area is full, correctional officers will direct inmates to the next

location. When the hearing started, only five of the 20 identified locations had been used as

respite areas. Id. These were: the barbershop, the lower administration hallway, the education

department hallway, the infirmary, and the craft shop. Id. at 32. The Court will discuss the

evidence regarding each of these areas in turn.

       The Barbershop: The barbershop is the first place that Warden Herrera uses as a respite

area. Hearing Tr. 3 at 92. The barbershop contains two barber chairs and two small benches

placed against two walls. Defs.’ Ex. 129. The inmates are not allowed to sit in the barber chairs,

and the benches can hold approximately four to five people each. Hearing Trs. 1 at 216; 9 at 18.

Warden Herrera estimates that the barbershop can hold about ten people before it is full. Hearing




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Tr. 3 at 70. When the barbers are working, there are individuals waiting to get haircuts, meaning

fewer people can be accommodated for respite. Hearing Tr. 1 at 26.

       Plaintiffs also presented evidence that offenders are often told that they cannot talk in the

barbershop. Hearing Tr. 9 at 45-46. The barbershop has a door with a mesh-covered opening that

leads into an area used for legal visits, staff trainings, and other meetings. Id. at 46; Defs.’ Ex. 36

at 1. Captain Marshall testified that, while that area is in use, he or other officials will order the

inmates in the barbershop to stop talking. Hearing Tr. 9 at 44-45; 47-48. Additionally, Captain

Marshall conceded that, at some point in the summer of 2016, a sign was placed in the

barbershop that said “No talking in the barbershop.” Id. at 48. Although Captain Marshall

testified that this sign was on paper and was immediately taken down, Mr. Denton, one of the

named plaintiffs, testified that the sign was in fact painted onto the wall. Id. 70; 107.

       Lower Administration Hallway: Warden Herrera testified that, after the barbershop is

full, he sends people to the lower administration hallway. Hearing Tr. 3 at 70. This hallway is

close to a central desk that is staffed with correctional officers, so Warden Herrera does not have

to use any extra correctional officers in order to monitor the inmates in respite. Id. at 76. The end

of this hallway leads to the administrative segregation area, which is where men are held in

protective custody. Id. at 100. When an inmate has to enter or leave the administrative

segregation unit, the lower administrative hallway must be cleared, which means individuals who

are there for respite must leave and go somewhere else until the transfer has been completed. Id.

at 101. Warden Herrera estimates that approximately ten individuals can use the hallway as

respite. Id. at 75. At the time the hearing began, there were no chairs in the lower administration

hallway, so inmates were forced to stand if they wanted respite. Id. at 76. Over the course of the

hearing, ten chairs were placed in the hallway. Hearing Tr. 9 at 19.



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        Mr. King testified that during one of the times he sought respite, he was sent to the

barbershop, but it was too crowded. Hearing Tr. 1 at 27. He was then moved to the lower

administration hallway, where he was told to stand, facing the wall.21 Id. After about ten minutes,

he was told to leave while prison officials moved an inmate from administrative segregation. Id.

Because Mr. King suffered a viral infection that has limited the use of his legs, and suffers from

obesity, he has difficulty standing for long periods. Id. at 6-7. After about 30 minutes in respite,

Mr. King chose to return to his housing area rather than remain standing and moving from one

location to another. Id. at 27. Mr. Brannum was also told to face the wall and stand while in the

lower administration hallway for respite. Id. at 86. Mr. Brannum uses a walker, and he was able

to stand for only about 20 minutes. Id. at 87. Similarly, Mr. Pennington, who uses a cane to walk,

has been discouraged by the need to stand in the barbershop and lower administration hallway, as

well as the frequent need to move from one respite area to another; he testified that, eventually,

he gives up and returns to his housing area. Id. at 132-133.

        Education Hallway: The third place used for respite is the education hallway—a

hallway directly outside of the library, the law library, and five classrooms. Hearing Tr. 9 at 19.

The hallway has benches and chairs that can fit about 25 to 30 people, some sitting and some

standing. Hearing Tr. 7 at 77; Defs.’ Ex. 126.

        Library: Next, Warden Herrera would turn to the library, which he testified could hold

40 people. Hearing Tr. 3 at 78. Depending on the time of day, Warden Herrera may not need to

reposition any correctional officers in order to use the library as a respite area, because he



21
   When asked if there is a policy of making inmates face the wall in the lower administrative
hallway, Warden Herrera stated that any time someone is being taken to administrative
segregation, inmates are required to face the wall. Hearing Tr. 3 at 102. The Court notes the
inconsistency of this statement with Warden Herrera’s earlier statement that anytime someone is
being taken in or out of administrative segregation, the entire hallway is cleared. Id. at 101.

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already has two officers stationed in the library during the day. Id. at 78-79. However, Warden

Herrera may need to cancel or reschedule library hours in order to do this. Id. at 80; 84.

       Infirmary: If the library becomes full, Warden Herrera testified that he would use the

infirmary as the next respite area. Id. at 81. There are two benches in the infirmary that could

hold approximately 15 to 20 men. Id. at 81. During the day, there are already two officers

stationed in the infirmary, so there would be no need to reposition correctional officers. Id. at 81.

Mr. Denton and Mr. Brannum testified that, when they have gone to the infirmary for respite,

they have been told that they were required to submit to a measurement of their core body

temperature, which is done by taking a rectal temperature. Hearing Trs. 1 at 87; 9 at 125. Mr.

Denton testified that this requirement deterred him from using respite. Hearing Tr. 9 at 125.

       All Other Locations: Once the above five areas are full—after approximately 105

inmates have requested respite simultaneously—Warden Herrera would have to start rearranging

his correctional officers, and disrupting the normal functioning of the prison, in order to

accommodate more people in respite. Pls.’ Ex. 129; Hearing Tr. 3 at 82-83. The next areas that

Warden Herrera would use, in order, are: the caged area of the visitation room located in the

main building, which is typically used for non-contact visits, where he could fit approximately

25 people, Defs.’ Ex. 130; the visitation room, which could accommodate approximately 40

individuals, Id.; the officers’ dining hall, which could fit around 40 people, Defs.’ Ex. 128; the

five classrooms in the education wing, which could hold around 150 people total; the law library,

which could fit about 40; the sewing room and administration offices in the boiler room and

kitchen, which could hold about 30 people total; a small air conditioned room within the craft

shop, which could hold approximately 10 people; and the property office, chaplain’s office, and

food service manager’s office, which could hold about 5 each. Hearing Tr. 3 at 82-95.



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       Trusty Camp: In the trusty camp, which houses 314 inmates, there is an air conditioned

administration building that could hold approximately 80 individuals, and an education area that

could hold between 50 and 60 men. Id. at 99. These areas are located outside of the perimeter

fence, and as a result would likely never be used for non-trusty inmates. Hearing Tr. 2 at 153.

       Evidence was also presented regarding the information that the Pack Unit has conveyed

to inmates about the respite program. The primary source of information is a poster that is

designed, in Warden Herrera’s words, “to make sure that every offender on the unit understands

that they can request and go to respite at any given time.” Hearing Tr. 3 at 103. This poster is

placed on a bulletin board used for posting notices to inmates and correctional officers. Id. This

poster reads as follows:

                                  NOTICE TO OFFENDERS
       Areas are being made available for offenders who are experiencing difficulty due
       to heat. These areas are located at Education Department, Lower Administration,
       Officers Dining Hall, Infirmary, Laundry Captain Office, Food Service Captain
       Office, Lieutenants office, Regular Visitation Room, Barber Shop (officer and
       offender), Trusty Camp office (Sgt. And Lt.), Trusty Camp visitation, Trusty
       Camp Food Service office, Agriculture office, Farm Shop office, Kennel office,
       Unit Maintenance office, Warehouse office, BOQ dayroom. If you are
       experiencing difficulty due to the heat, please notify a staff member immediately.

Pls.’ Ex. 52. The notice appears also in Spanish. Id. Although Warden Herrera testified that there

is not, in fact, a requirement that inmates feel ill before requesting respite (Hearing Tr. 3 at 105-

106), Mr. Vail stated that inmates could interpret the language “offenders who are experiencing

difficulty due to heat” as requiring that they feel ill before seeking respite. Hearing Tr. 2 at 148.

Warden Herrera agreed that there are much clearer ways to communicate the intended message

to inmates. Hearing Tr. 4 at 27. Defendants’ own expert, Dr. Rieger, stated that the poster should

be rewritten, as it is unclear and difficult to understand. Hearing Tr. 7 at 74. This is especially




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important in a correctional facility, he said, where the average reading level of inmates is

generally accepted to be around the third grade. Id.

       Another poster has been placed on the same bulletin board, labeled as a notice to

correctional officers. This poster says, “Respite areas are being made available for offenders to

prevent the development of heat-related illnesses.” Hearing Tr. 2 at 263-264.

       In addition to the posters, TDCJ’s Risk Management Department has created several

handouts that are given to inmates. One, a handout that discusses suicide prevention and the

Prison Rape Elimination Act, as well as temperature-related illnesses, says nothing about the

respite program, or the importance of seeking out air conditioning during the heat. Pls.’ Ex. 54.

A four-page “Training Circular” gives information about heat-related illnesses and their

prevention. This handout says that inmates should “use air conditioners or spend time in air

conditioned locations such as identified respite areas.” Pls.’ Ex. 53 at 1. On the second page, the

handout tells inmates to “stay indoors and, if at all possible, stay in an air conditioned place. If

your home does not have air conditioning, go to the shopping mall or public library.” Id. at 2. On

the fourth page, there is a section marked “Respite Areas,” which writes, “During the extreme

temperature months, offenders will be allowed access to respite areas. Ensure employees and

offenders are trained, and are compliant with heat precaution procedures to include knowledge of

respite area locations and offender access.” Id. at 4. Although this second handout does more

than the poster and the first handout to identify the importance of spending time in respite areas,

the information is still vague, and is not specific to the Pack Unit. In addition, the inclusion of

information about going to a shopping mall or public library confuses and dilutes the message.

        The Court finds, based on the unclear and incomplete communication and training

described above, that both inmates and correctional officers are unaware of, or confused about,



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the limitations and rules regarding respite. This is confirmed by Plaintiffs’ testimony. Mr.

Brannum testified that he has been refused access to a respite area by correctional officers.

Hearing Tr. 1 at 86. Mr. King does not think he can access respite areas 24 hours a day. Id. at 16;

26. He believes that respite closes around 10:00 p.m., and does not know of anyone who went to

respite after that time. Id. at 16. Mr. Pennington has been told that he cannot take a book to

respite. Id. at 134. Mr. Huerta testified that he does not think he can stay in respite as long as he

wants, because some officers will tell him to leave once they think he has been there long

enough. Id. at 174. These issues could be easily resolved with effective training of, and

communication with, the correctional officers and inmates at the Pack Unit.

       Before the hearing began, only 15-20 men in the Pack Unit had ever requested respite at

the same time. However, during the first week of the hearing, on the night of Thursday, June 22,

2017, and during the day on Friday, June 23, 2017, a large group of men at Pack Unit requested

respite. Hearing Tr. 9 at 27. Captain Marshall testified that on Thursday night, approximately 65

to 70 men requested respite, and Pack Unit staff placed them in the barbershop, the lower

administrative hallway, and the officers’ dining hall. Id. at 27-28; 32. Later, the men were

escorted from the officer’s dining hall into the education hallway and library. Id. at 28. In the

library, Captain Marshall stated that most men had chairs, and the rest were “placed

strategically” so they could rest their backs against walls and shelves. Id. at 28. On Friday,

approximately 150 men requested respite, and they were placed in the barbershop, lower

administrative hallway, and two classrooms in the education department, because the library was

being used for a class at that time. Id. at 29; 32. Approximately 80 men were placed into the

library and had access to one bathroom; there was a line of men waiting to use this bathroom. Id.

at 35. Captain Marshall testified that there were “no problems at all” accommodating the influxes



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of men. Id. at 29. But the Court finds Captain Marshall’s testimony less than credible.22

        Plaintiff Michael Denton was one of the men who requested respite on Thursday, June

22, 2017, and he testified about this experience. When he requested respite at around 5:30 p.m.,

he was sent to the officers’ dining hall, where about 45 other men were located. Id. at 97. Upon

arrival, he and the other men were told by a correctional officer, “If you all want to play, then we

can play, too. If you are in here and your house isn’t in compliance, 23 we’re going to write you a



22
   The Court finds that Captain Marshall was impeached during the hearing in a way that
damaged his credibility. Captain Marshall testified that inmates are allowed to talk in respite
areas, and that he had never ordered inmates to stop talking in a respite area. Hearing Tr. 9 at 42.
Plaintiffs then produced a grievance filed against a correctional officer who ordered inmates in
the barbershop to stop talking. Hearing Tr. 9 at 42-43. The correctional officer responded, on the
grievance form, that Captain Marshall “gave a direct order not to talk to each and every one of
them that was sitting in there.” Hearing Tr. 9 at 44. When presented with this grievance, Captain
Marshall explained that any time legal visits or staff trainings are happening in the room adjacent
to the barbershop, inmates are ordered to stop talking. Hearing Tr. 9 at 46. His reason for not
testifying about this when directly questioned was that all inmates in the barbershop, whether
there for haircuts or respite, were ordered to stop talking, so he was not simply ordering those in
respite to stop talking. Hearing Tr. 9 at 46-47. The Court finds this explanation dubious, and
finds that Captain Marshall was attempting to cover up or downplay evidence that was
unfavorable for Defendants. The Court also finds that Captain Marshall’s memory proved
unreliable. On direct examination, he testified that 140 to 150 inmates had used respite on
Thursday and Friday, June 22 and 23. Hearing Tr. 9 at 27. On cross examination, he said that in
fact the number of inmates using respite on Thursday was around 60, and on Friday the number
increased to 150. Hearing Tr. 9 at 32. However, he then said that there were 82 men in the library
alone on Thursday, which would be impossible if only approximately 60 men requested respite
that night. Hearing Tr. 9 at 35. Accordingly, the Court significantly discounts Captain Marshall’s
testimony.
23
   This refers to a rule that any time an inmate is outside of his designated living area, his cubicle
is required to be clean, with personal effects properly stored. Hearing Tr. 9 at 97. Although this
rule is always in place, and is regularly enforced, the Court finds that the specific targeting of
inmates who request respite could intimidate inmates who are less apt to assert their rights. This
is consistent with the testimony of Mr. Cole that “certain offenders [are] more assertive than
others and they are not afraid to get up against the system. They will get out like I do. But the
vast majority of offenders on my unit, they are afraid.” Hearing Tr. 1 at 210. Mr. Vail also
testified that Mr. Cole’s assertion of his rights is “not the characteristic of a lot of inmates. A lot
of inmates will be afraid to access these areas for the fear of running into conflicts with the
staff.” Hearing Tr. 2 at 225.


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case.”24 Id. at 97. After being in the officers’ dining room for approximately 20 minutes, the men

were moved to the library. Id. When they got there, all of the chairs were taken, so Mr. Denton

had to either stand or sit on the floor. Id. at 98. Mr. Denton counted approximately 55 men in

chairs in the library, and approximately 15 men sitting on the floor. Id. He stated that the library

was crowded, and that when the air conditioning vent stopped blowing cold air, it became very

warm. Id. at 100. He said that the process of getting everyone into respite on Thursday evening

was disorganized, and that the correctional officers seemed frustrated, and vented this frustration

at the inmates. Id. at 101. The Court finds Mr. Denton’s description of the events of Thursday

evening to be more persuasive than Captain Marshall’s. Defendants’ cross-examination of Mr.

Denton failed to raise any significant issues with his testimony.25 His memory was clear, he was

not evasive, and his testimony appeared unbiased. Even when it hurt Plaintiffs’ case, Mr. Denton

was honest—for example, when Defendants’ and Plaintiffs’ counsel followed-up about the

correctional officer’s statement that “houses better be in order,” Mr. Denton readily admitted that

this rule is always in place and is enforced on a daily basis. Id. at 108; 123.

          Based on the evidence described above, the Court finds that the events during the first

week of the hearing reveal how unprepared the Pack Unit is to deal with any significant number

of inmates requesting respite. The number of men who requested respite on Friday is just over

ten percent of the number of inmates housed at the Pack Unit, yet Defendants struggled to find

places in which to put them. On Thursday, that number was even smaller, but inmates were

shuffled from one location to another, and they were crammed into the library, some with no
24
     “Writing a case” means taking disciplinary action against an inmate.
25
   Defendants attempt to impeach Mr. Denton’s credibility with his criminal conviction under
Rule 609 of the Federal Rules of Evidence. Hearing Tr. 9 at 111. The impeachment seems to
have been based in large part on the fact that Mr. Denton still claims to be innocent. But the
Court finds that Mr. Denton’s conviction does not reduce his credibility with regard to the events
of Thursday evening.

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place to sit. Officers were frustrated, and were vocal about their frustration. This does not

evidence a well-functioning program where, in the words of Warden Herrera, “every offender on

the unit understands that they can request and go to respite at any given time.” Hearing Tr. 3 at

103. Plaintiffs may be aware that they can request respite, but they are likely also aware that their

request may provoke the ire of correctional officers; that they may have to walk from one respite

area to another; that they may have to stand, despite any discomfort or pain; and that they may

not be able to talk or read, much less watch television or play games.

        Mr. Vail, Plaintiffs’ expert on corrections, credibly testified that, based on his review of

the evidence, Defendants’ respite program has not been designed to incentivize its use. Hearing

Tr. 2 at 162. He identified several problems with the respite program at the Pack Unit. In general,

Mr. Vail is of the opinion that inmates at the Pack Unit are not being encouraged to use the

respite areas, and that in fact there are several disincentives in place. Id. at 153. First, he testified

that there are no dedicated staff members assigned to some of the respite areas that might be able

to handle a larger volume of inmates. Id. at 146. Instead, inmates are sent to areas like the

barbershop and the lower administration hallway, which cannot accommodate many people and

are not designed to allow for other activities, such as writing, playing games, or watching

television. He identified the inability to sit and talk, and the occasional requirements to stand

with one’s nose against the wall or to submit to a rectal temperature, as significant disincentives

to using the respite areas. Id. at 146-147. He stated that having respite areas in administrator

offices is problematic because there is potentially confidential or secure information located in

those offices; furthermore, most inmates will not feel comfortable spending time in an

administrator’s office, for fear of being labeled an informant. Id. at 152-153.




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       In order for the Pack Unit to have a fully-functioning respite program, Mr. Vail

recommends creating a comfortable environment where inmates can sit, talk, relax, and engage

in activities, such as reading, watching television, or playing games. Id. at 160; 236. He

recommends publicizing the program, and clearly communicating where respite is, what hours it

is open, and what the rules are once there. Id. at 160; 148. He thinks that the poster regarding

respite should be more clear, more inviting, and explain why respite is important for one’s

health. Id. at 149. Ideally, there would be a dedicated space for respite; for example, air

conditioning a location such as the gym could provide an area large enough to accommodate a

higher volume of inmates in respite. Id. at 163; 278. Mr. Rieger agrees that, in order to

successfully implement a respite program, inmates should be able to sit down, read, talk, and

generally be comfortable. Hearing Tr. 7 at 140-141.

       Based on the above-described evidence, the Court finds that Plaintiffs are failing to use

the respite areas at the Pack Unit, not because they simply choose not to, as Mr. Ginsel proposed,

but because the respite program is poorly designed, administered, and communicated. Accessing

respite means being forced to stand, or sit in hallways with nothing to do, or sit in a barbershop

in silence; officials have not communicated the extent and limits of the respite program to the

inmates or correctional officers; and the prison has not educated the inmates about the

importance of seeking respite on a daily basis during the summer months. This is not the robust

respite plan described by Defendants in their briefing, nor is it the type of program that would

constitute an effective mitigating measure.

       However, even if a successful respite program were implemented at the Pack Unit—one

that incorporated all of the suggestions made by Mr. Vail and Dr. Rieger—the Court finds that




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significant evidence supports Plaintiffs’ claim that they still would not be free from a substantial

risk of serious injury or death.

       Dr. Rieger testified that respite is an effective mitigation measure because it removes a

person from a hot environment for that period of time, and provides that person with an

opportunity to cool down, decreasing their body temperature if it has begun to rise. Hearing Tr. 7

at 56. Dr. Vassallo testified, however, that for the time Plaintiffs are not in respite areas, which

would be the majority of the hours of the day, they would be subjected to temperatures that could

cause sickness and death. Docket Entry No. 465 at 135. Given the rapidity with which a person

can develop heat stroke, several hours in the temperatures at the Pack Unit could result in serious

injury. Docket Entry Nos. 465 at 135; 340-18 at 7. This is especially true for individuals with

underlying conditions, or on medications, that hasten the onset of heatstroke. Docket Entry No.

465 at 135.

       Indeed, the Plaintiffs who testified that they were regularly accessing respite areas stated

that they still experienced symptoms of heat-related illness. Mr. Brannum works in the craft

shop, and he testified that he accesses the air conditioned portion of the craft shop on a daily

basis and is able to cool off in that room. Hearing Tr. 1 at 110. However, Mr. Brannum—who is

63 years old, suffers from high blood pressure, diabetes, obesity, and schizoaffective disorder,

and takes eight medications that affect his ability to regulate temperatures—still experiences

weakness, headaches, a rapid heartbeat, difficulty breathing, and nausea during the summer

months. Id. at 78. Mr. King, who is 71 years old, suffers from high blood pressure, diabetes, and

obesity, and takes two medications that interfere with thermoregulation, also works in the craft

shop, and uses the air conditioned room for respite on a daily basis. Id. at 54. But he also

continues to feel symptoms of heat-related illness when he is in his housing area, including



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difficulty functioning, sluggishness, and a diminished appetite. Id. at 17. Mr. Cole, who is 63

years old, suffers from chronic cardiovascular disease, high blood pressure, high cholesterol, and

diabetes, and takes three medications that interfere with heat regulation, uses respite on a daily

basis. Id. at 228. Yet he testified that he also feels the symptoms of heat-related illness every day

when he is in the housing units. Id. at 219. He feels dizzy, nauseated, and has difficulty

breathing; additionally, his underlying conditions, such as his heart problems, are more

aggravated in the summer than during the winter months. Id. at 219.

       The Court finds that respite areas are a useful mitigation measure while an individual is

in them, as well as to the degree that they allow that individual’s body temperature to normalize

before going back into housing areas. However, the respite program at the Pack Unit suffers

many deficiencies, described above, that make its use difficult and unpleasant, and that

discourage inmates from seeking respite. Even if respite were actively encouraged and made to

be more comfortable, it is clear that Warden Herrera could not accommodate large numbers of

inmates in respite at any given time without drastically changing the operations of the Pack Unit.

Assuming that the Pack Unit could create a respite program that functions as intended, inmates at

the Pack Unit are still left vulnerable to heat-related illness from the extreme heat faced while in

their housing areas. This risk is especially heightened for individuals with conditions, or on

medications, that affect their ability to thermoregulate.

       Wellness Checks

       Defendants claim that wellness checks of inmates on the heat-restriction list are

performed every 30 minutes at the Pack Unit, and that this is an effective mitigation measure. It

is somewhat unclear what is meant by “wellness check.” TDCJ’s 2017 Heat Directive states that,

“During normal security checks, officers must conduct wellness checks and seek care for



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offenders requesting medical assistance or exhibiting signs of illness.” Defs.’ Ex. 7 at 1. Neither

TDCJ nor the Pack Unit has written directions about how to conduct a wellness check. Hearing

Tr. 4 at 6. Defendants’ expert, Dr. Rieger, testified that a wellness check simply means human

contact. Hearing Tr. 7 at 95. Specifically, it gives “each person in that contact an opportunity to

see the other, to look at their state, to ask questions if they want to, not ask questions if they

don’t want to.” Id. at 95. He emphasized the importance of looking at each inmate and making

eye contact with each inmate. Id. at 96. Plaintiffs insist that a wellness check should be

conducted by medical personnel, and should include specific questions that each inmate is asked.

Docket Entry No. 620 at 5; Hearing Tr. 9 at 94.

        What is in fact occurring at the Pack Unit appears to be less involved than any of the

descriptions above. Warden Herrera testified that wellness checks are essentially security checks,

which have been performed in TDCJ facilities since 1980, but stated that “we pay a little bit

closer attention to the ones on the [heat-restriction] list.” Hearing Tr. 4 at 6. Thus, in the summer,

during the security check that is performed every 30 minutes, officers are expected to pay closer

attention to the inmates that are on the heat-restriction list, which each officer receives. Warden

Herrera testified that security/wellness checks for an entire dormitory, housing 56 men, take

around four or five minutes to complete. Id. at 12.

        The named Plaintiffs who are on the heat-restriction list all testified that there is nothing

different about the security checks that occur in the summer as opposed to those that occur in the

winter. Hearing Tr. 1 at 30; 89; 143; 216. Mr. King stated that, if an inmate is awake,

correctional officers “just walk on past” without stopping. Id. at 30. If an inmate is asleep, the

officer will wake him up and ask, “Are you alive?”26 Id. at 30; 142; 156; 216-217. The Court

26
  Both Defendants’ and Plaintiffs’ experts found this practice troubling. Dr. Rieger testified that
he did not see what is added by waking inmates up in the middle of the night, as opposed to

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finds that the consistency of Plaintiffs’ testimony lends credibility to their assertions;

furthermore,   their   statements   are   supported   by     Warden   Herrera’s   testimony   that

security/wellness checks for 56 inmates take four or five minutes to complete. There are no

written materials instructing officers on how to conduct wellness checks, nor are there

documents that are filled out during wellness checks to ensure that they were properly done and

that each inmate was observed. Hearing Tr. 4 at 26. Mr. Vail credibly testified that wellness

checks, as currently performed, do little to prevent heat-related illness. Hearing Tr. 2 at 274.

Although Dr. Rieger stated that wellness checks were effective in reducing heat-related illness,

the checks that he described are not occurring at the Pack Unit. Hearing Tr. 7 at 95. However,

even if wellness checks were conducted in a more thorough manner, Dr. Vassallo opined that the

rapid onset of heat stroke means that even frequent observations of persons at high risk of heat

stroke are unlikely to give adequate warning of impending heat stroke. Docket Entry No. 340-18

at 8. Thus, the Court finds that the wellness checks implemented at the Pack Unit are an

ineffective mitigating measure for heat-sensitive inmates.

       Employee and Inmate Training

       In the 2017 Heat Directive email, TDCJ states that employees and offenders should be

trained to be aware of “the signs and treatment for heat-related illnesses.” Defs.’ Ex. 7 at 1.

TDCJ also states, in the email, that employees and offenders should be trained and compliant

with heat precaution procedures, “including knowledge of respite area locations and offender

access.” Id. Finally, all employees are to be given Employee Information Cards, which contain

information about symptoms and treatment of heat-related illnesses. Id. TDCJ has produced a

training video that is shown to employees and inmates on a regular basis. Hearing Tr. 3 at 107.


simply checking to make sure the inmate is breathing. Hearing Tr. 7 at 97. Mr. Vail similarly
expressed his opinion that this practice is problematic. Hearing Tr. 2 at 135.

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This video shows the symptoms of heat-related illnesses, but says nothing about the availability

and importance of respite. Hearing Tr. 4 at 59.

        As discussed in detail in the section of this opinion dealing with respite, there appears to

be very little communication to inmates about the importance of seeking respite during extreme

temperatures. Such information could be useful to inmates, although it would be limited by the

capacity and comfort problems with the Pack Unit’s respite program, as previously identified.

               2. Heat Wave/Extreme Temperature Policy

        Defendants’ expert, Dr. Rieger, testified that, eventually, Texas will experience another

heat wave—the question is not “if,” but “when.” Hearing Tr. 7 at 80. The Court and the parties

have no way of knowing when a heat wave will occur, but it is clear that one will come.27 Given

the many deaths and heat-related illnesses in TDCJ that resulted from the 2011 heat wave, the

import of having detailed and thorough responses in place cannot be overestimated. This is

especially true given Dr. Rieger’s testimony that, in the event of a heat wave, the current

mitigation measures would not suffice to protect the inmates in the Pack Unit. Id. at 79-80.

        Defendants argue that they already have a heat wave policy, in the form of their “Incident

Command System” (“ICS”). Docket Entry No. 641 at 31. ICS is a system used nationwide to

respond to emergencies and to communicate within and between agencies. Hearing Tr. 4 at 179.

Within TDCJ, ICS is initiated any time there is some type of emergency in a facility, such as a

sick inmate, a fight, or an alleged sexual assault, all the way up to a complete evacuation of a

unit. Id. at 179; Hearing Tr. 5 at 173. For large-scale events, such as a hurricane, the official
27
   The Court takes judicial notice that “climate scientists forecast with a high degree of
confidence that average temperatures in the U.S. will rise throughout this century and that heat
waves will become more frequent, more severe, and more prolonged.” Daniel W. E. Holt, Heat
in U.S. Prisons and Jails: Corrections and the Challenge of Climate Change, Columbia Law
School     Sabin     Center     for    Climate      Change       Law,    i     (August    2015),
https://web.law.columbia.edu/sites/default/files/microsites/climate-change/holt_-_heat_in_us
_prisons_and_jails.pdf.

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command center is located in Huntsville, Texas, and includes various TDCJ administrators.

Hearing Tr. 5 at 173. Mr. Ginsel insists that ICS is a heat wave policy, and testified that, if TDCJ

believes there may be a heat wave, the ICS command center will come together “to make the

determination are we going to shut down activities on the unit or are we going to evacuate

offenders from that unit.” Id. at 178. Although the Incident Command System was in place in

2011, Mr. Ginsel testified that it was not initiated with regard to the heat wave that killed ten

men in TDCJ facilities. Id. at 178. This casts doubt on Mr. Ginsel’s confidence that ICS will be

activated, and will provide the necessary procedures, in the event of another heat wave.

       Other than Mr. Ginsel, none of the witnesses thought that ICS was a heat wave policy.

Warden Herrera testified that there is no heat wave policy for TDCJ or for the Pack Unit.

Hearing Tr. 4 at 169. Despite acknowledging that the Pack Unit will experience another heat

wave at some point in the future, and that a formal heat wave policy would be helpful in the

event of a heat wave, Warden Herrera stated that he will not develop a heat wave policy unless

ordered to do so by his supervisors or this Court. Id. Dr. Rieger testified that he does not think

that ICS is a heat wave policy, and that he would want a written policy dictating how to respond

to a heat wave. Hearing Tr. 7 at 74. Mr. Vail testified that TDCJ does not have a heat wave

policy, and that, while ICS is a structure with which to respond to different types of emergencies,

it contains no protocols specific to a heat wave. Hearing Tr. 2 at 141-142. Mr. Vail used the

example of an escape to demonstrate his point: if an inmate escaped, TDCJ would certainly use

ICS. However, it would also use its written policy dictating what specific steps to take in

response to the escape, such as alerting local law enforcement, setting up roadblocks, and calling

in scent-tracking dogs. Id. at142; Hearing Tr. 5 at 202. Mr. Ginsel responded that there is a

separate written policy for escapes because “an escape is an escape whether you escape from one



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prison or another.” Hearing Tr. 5 at 202. He averred that this cannot be said for a heat

emergency. Id. at 203.

       The Court finds that Mr. Ginsel’s testimony on this matter is not credible. It is clear to the

Court and to every other witness, including a Defendant in this case, that ICS is not a heat wave

policy. It is also apparent that a heat wave policy would be beneficial when the next heat wave

occurs. Finally, the Court finds Mr. Ginsel’s reasoning that TDCJ cannot develop a specific

written protocol for heat waves because the response to a heat wave will not be the same in every

facility exceedingly unpersuasive, for the following reasons.

       First, Mr. Vail and Dr. Rieger listed several protocols that could be implemented at most,

or all, facilities, in the event of a heat wave. Mr. Vail testified that, in the event of a heat wave,

air conditioners could be rented, more ice water could be provided, or more medical staff could

be brought in. Hearing Tr. 2 at 142. Dr. Rieger stated that kitchens could be shut down to reduce

heat, cold meals could be served to reduce heat gain from hot meals, recreation could be

eliminated, and heat-sensitive inmates could be moved to a facility with air conditioning.

Hearing Tr. 7 at 81. Both experts emphasized that these are just suggestions that could be

rejected, and that TDCJ is in the best position to brainstorm as to what procedures would be most

effective considering its resources and facilities. Hearing Trs. 2 at 142; 7 at 80.

       Second, the “Heat Directive” email, which Defendants call a policy, lists steps that

should be taken in all TDCJ facilities during the summer. Defs.’ Ex. 7. These steps include

things like, “All offenders may purchase a fan if they do not already have one,” and, “Make sure

window screens [in housing areas] are clean so air flow is not restricted.” Id. at 3. But the Court

is aware that certain facilities in TDCJ do not have electrical outlets for personal fans. McCollum

v. Livingston, 2017 WL 608665, at *3 (S.D. Tex. Feb. 3, 2017). Others have windows that are



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sealed shut, such as the expansion dormitory at the Pack Unit. Thus, TDCJ’s Heat Directive lists

protocol that cannot always be followed, due to the uniqueness of each facility. This did not

prevent TDCJ from creating protocols that should be followed to the best of each warden’s

ability; nor should differences in facilities prevent the development of a heat wave policy.

       Finally, if in considering the creation of a heat wave policy, TDCJ honestly concludes

that it is impossible to list protocols to be followed at every facility, there is no reason why TDCJ

could not order each facility to develop its own heat wave policy. Alternatively, TDCJ could

develop a list of suggested protocols, and require that individual facilities create their own

policies based on those suggestions. For these reasons, the Court is not persuaded that the

difficulties of constructing a heat wave policy justify Defendants’ failure to do so. The Court

does not doubt that ICS will, and should, be used during the next heat wave. But the risk that

heat waves present requires preparation well beyond this system.

               3. Heat-Related Illnesses at the Pack Unit

       Defendants make much of the fact that only five reported heat-related illnesses occurred

in the Pack Unit in 2016, and that as of June 19, 2017, none had been reported in 2017. Hearing

Tr. 5 at 38. The Court regards these statistics with skepticism. The Court has found that heat-

related illnesses are vastly underreported. See Section I.E.2 supra. Indeed, Mr. Pennington

testified that, earlier this summer, he began to feel dizzy, had difficulty breathing, and felt

“funny,” like he was going to faint. Hearing Tr. 1 at 138-139. He went to the infirmary to cool

down but was not diagnosed with a heat-related illness, although the nurse told him his

symptoms were a result of the heat. Id. All of the Plaintiffs described experiencing symptoms

similar to those of Mr. Pennington on a regular basis, but these symptoms are very rarely

reported or diagnosed as a heat-related illness.



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       Furthermore, the Court finds that Ms. McWhorter, who collects the incidents of heat-

reported illness across TDCJ, may have underrepresented the number of reported illnesses. For

example, Ms. McWhorter’s documents indicate that six heat-related illnesses occurred at the

Pack Unit in 2012. Hearing Tr. 5 at 82. Yet documents produced by TDCJ reveal 12 incidents of

heat-related illness at the Pack Unit. Id. Ms. McWhorter was unable to provide an explanation

for this discrepancy.

       Even if the number of heat-related illnesses is as low as Ms. McWhorter testified, it does

not support Defendants’ argument that the mitigation measures implemented in 2015—respite

areas, cool-down showers, and wellness checks—have caused a decrease in the risk of heat-

related illness. According to Ms. McWhorter, the number of reported heat-related illnesses in the

Pack Unit was five in 2012; two in 2013; three in 2014; three in 2015; and five in 2016. Defs.’

Ex. 50. Defendants’ own statistics reflect no decrease in reported heat-related illnesses since the

implementation of the measures touted by Defendants. Furthermore, the Court finds that these

numbers more likely reflect systemic under-reporting of heat-related illnesses in TDCJ, rather

than the success of the new mitigating measures. The Court finds that this under-reporting has

various causes, such as the medical reasons discussed in section I.E.2, as well as inmates’ lack of

knowledge regarding the symptoms and seriousness of heat-related illness; inmates’ sense of

learned helplessness from years of complaints about the heat going unheeded; requirements, such

as the measuring of core body temperature with a rectal thermometer, that discourage the

reporting of heat-related illness; and the instinct to treat the symptoms of heat-related illness

without going to the infirmary.

       Finally, the Court finds that high numbers of heat-related illnesses are not a prerequisite

for a finding that a substantial risk of serious harm exists. “That the Eighth Amendment protects



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against future harm to inmates is not a novel proposition.” Helling v. McKinney, 509 U.S. 25, 33

(1993); see also Ball, 792 F.3d at 593 (“To prove unconstitutional prison conditions, inmates

need not show that death or serious injury has already occurred.”) “It would be odd to deny an

injunction to inmates who plainly proved an unsafe, life-threatening condition in their prison on

the ground that nothing yet had happened to them.” Helling, 509 U.S. at 33. The Court applauds

the efforts that TDCJ has made to implement mitigating measures at the Pack Unit and other

facilities. But Plaintiffs have shown that heat-related illnesses still occur at the Pack Unit, in spite

of these mitigation measures. The record is replete with evidence of unreported heat-related

illnesses experienced by Plaintiffs on a regular basis. Expert witnesses have convincingly

testified that Plaintiffs face a substantial risk of harm from the current conditions at the Pack

Unit. Credible evidence reveals that Defendants have no substantive plan in place in the event of

a heat wave, and there is no dispute among the experts that the current mitigating measures

would not suffice during a heat wave. Plaintiffs do not need to show high numbers of heat-

related illnesses at the Pack Unit to establish that they are still at risk of current and future harm.

Accordingly, the Court finds that Plaintiffs face a risk of current and future harm from the

conditions at the Pack Unit.

        H. Proposed Remedies

        Plaintiffs have proposed numerous remedies, should the Court find an ongoing

constitutional violation. The primary remedy they seek is for the Court to order the Pack Unit to

reduce the temperatures in the housing areas. Should the Court agree, and order Defendants to

reduce the temperatures, no other remedies are sought. However, if the Court does not order such

relief, Plaintiffs request numerous forms of alternate relief, discussed below.




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               1. Air Conditioning

       Despite a variety of fans and ventilators in the housing units at the Pack Unit, TDCJ has

not reduced the heat index in those areas. Thus, the primary relief sought by Plaintiffs is the

reduction of the indoor apparent temperatures in the housing areas to below 88 degrees.

Although it is possible to cool spaces without the installation of air conditioning units, see Ball v.

LeBlanc, 223 F.Supp. 3d 529, 537-541 (M.D. La Dec. 22, 2016), rev’d on other grounds, the

simplest way to do so is to install some sort of air conditioning system.

                       a. The Effectiveness of Air Conditioning

       Dr. McGeehin credibly testified that “heat is one of the few things that we can point to

something and say that eliminates the risk.” Docket Entry No. 460 at 155. In the case of heat,

that “something” is air conditioning. Id. Dr. McGeehin specifically testified that the deaths that

occurred in TDCJ facilities as a result of heat-related illness could have been prevented by air

conditioning, and that air conditioning would eliminate the risk of injury or death that currently

exists in the Pack Unit. Id. at 155, 157. In 1995, 90 percent of all homes in southern states were

air conditioned, and that number has likely increased in the past 22 years. Id. at 156. (This

statistic is the most recent one to appear in the record.) The American Society of Heating,

Refrigerating and Air-Conditioning Engineers (“ASHRAE”) produces standards by which

engineers design structures and air conditioning systems. The ASHRAE 55 comfort standard has

been in place since 1981, and dictates that structures should be air conditioned to about 75

degrees. Hearing Tr. 8 at 16. Dr. Vassallo testified that death rates in free society were much

higher before air conditioning existed or became standard. Docket Entry No. 465 at 100. Because

deaths from heat stroke were not reported, it is impossible to know how many of those deaths

were caused by extreme heat. Id. But the Court finds convincing Dr. Vassallo’s hypothesis that



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significantly more people died of heat stroke before air conditioning existed than do now.

Regardless, it is clear that air conditioning effectively reduces the risk of heat-related illness,

even in climates with extreme heat, such as Texas.

                       b. Pre-Existing Air Conditioned Beds Within TDCJ

        TDCJ currently has over 150,000 beds in its 109 facilities across the state. Of those beds,

32,434 are air conditioned. Hearing Tr. 6 at 24; Defs.’ Ex. 109 at 3. Twenty-eight facilities have

air conditioning in all of the housing areas, 53 facilities have air conditioning in some of the

housing areas, and 23 facilities have no air conditioning at all in the housing areas. Defs.’ Ex.

109 at 3. Defendants contend that none of the beds in air conditioned housing would be

appropriate for the inmates at the Pack Unit, for a variety of reasons. Of the air conditioned beds

throughout TDCJ facilities, 3,745 are segregation cells, and 11,616 are treatment28 beds, leaving

17,073 air conditioned general population beds. Id. Mr. Ginsel testified that approximately 3,386

of these general population beds are located in female units. Hearing Tr. 6 at 24-25. State jails,

which are designed to house people sentenced to two years or less for a non-aggravated crime,

contain 4,274 of the air conditioned beds. Id. at 23, 25. Transfer facilities have 2,068 air

conditioned beds, and are generally less secure than long-term facilities such as the Pack Unit.

Id. at 25-27. This means they would be unable to accommodate many of the inmates at the Pack

Unit who have long sentences. Id. An estimated 234 beds are located in pre-release facilities,

which are designed for inmates within three years of release. Id. at 27; Defs.’ Ex. 109. About

3,229 beds are used for “safekeeping,” high-security inmates, or “transient” inmates. Hearing Tr.

6 at 33. “Safekeeping” beds are used to house vulnerable populations, such as transgender or

gender-nonconforming inmates, or inmates who are small in stature. Id. at 28-29; Defs.’ Ex. 109.
28
   “Treatment” beds include beds used for offender programs, medical, and mental health.
Placement in these beds is generally done at the recommendation of the Board of Pardons and
Parole (for programs) and medical staff (for medical and mental health). Defs.’ Ex. 109 at 3.

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High-security beds are used for inmates with a “G5” security level, which means they are one

step from going to administrative segregation—they are inmates with a history of aggression or

possession of weapons in prison. Hearing Tr. 6 at 31. “Transient” inmates are those who are in

between locations, for a variety of reasons—pending a move to another facility, or while an

investigation into an alleged threat is ongoing. Id. at 31-32. In sum, Mr. Ginsel stated that any

court order to move inmates from the Pack Unit into pre-existing air conditioned beds would

force vulnerable and/or high-security inmates into bunks that are not designed and are not

appropriate for them. Id. at 38.

       Finally, Mr. Ginsel testified that, once all of the above-listed beds were subtracted from

the approximately 17,000 non-treatment and non-segregation air conditioned beds, there would

be zero beds available for anyone from the Pack Unit. Id. at 34-35. The Court notes that, until

2013, TDCJ did not know how many air conditioned beds existed system-wide. Id. at 50. The

survey on which the above numbers are based was conducted, in part, because of a media

inquiry. Id. at 50. The Court finds that Mr. Ginsel persuasively testified that all of the air

conditioned beds in TDCJ are accounted for and in use by inmates who could not be readily or

safely transferred to non-air conditioned beds.

                       c. Medical Providers’ Inability to Recommend Air Conditioned
                          Housing

       Medical providers have the ability to recommend that an inmate be placed in a Type-II or

Type-III Geriatric facility, which are required to have air conditioning. Hearing Tr. 5 at 41.

However, there are only two such facilities in all of TDCJ, and there are strict criteria for who

can be housed in each. Id. at 41; Hearing Tr. 6 at 36. The Duncan Unit is the only Type-II

Geriatric facility in TDCJ. Hearing Trs. 5 at 41; 6 at 35. It has 566 air conditioned beds. Hearing

Tr. 6 at 35. According to TDCJ, a Type-II Geriatric facility is designed for elderly male


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offenders and has some capacity for wheelchair-bound offenders. Defs.’ Ex. 116 at 3. But, Mr.

Ginsel explained that there are also strict security considerations for assignment to the Duncan

Unit. Hearing Tr. 6 at 36. The facility was originally a transfer facility, and as such has only one

perimeter fence. Most facilities, including the Pack Unit, have two perimeter fences. Id. at 25-26,

36. As a result, Mr. Ginsel testified, inmates with long sentences could not be housed at the

Duncan Unit. Id. at 36. Furthermore, the Duncan Unit does not have psychiatric services, so

inmates with mental illness could not be housed there. Id. For these reasons, the Duncan Unit is

not a viable facility in which to house inmates at the Pack Unit. The only Type-III Geriatric

facility in TDCJ is located in the Estelle Unit. Id. at 38. It has 264 air conditioned beds, and is

designed for individuals who are capable of some self-care but who need constant medical

attention. Id; Defs.’ Ex. 109 at 1.

       Ms. McWhorter, the former manager of TDCJ’s Health Services Liaison, testified that, in

order for an inmate to be assigned to a geriatric unit, a medical provider would send a request to

Health Services Liaison. Hearing Tr. 5 at 41. TDCJ would then determine whether that inmate

meets the security criteria for those units, and whether there is space. Hearing Tr. 6 at 36.

       Other than the Duncan and Estelle units, medical providers do not have the ability to

recommend that an inmate be placed in air conditioned housing area because of his medical

condition or medication regimen. Pls.’ Ex. 116. Indeed, TDCJ’s “Health Services Liaison

Facility Types List” states explicitly that Health Services Liaison “cannot request reassignment

of an offender to an air conditioned or climate-controlled facility.” Id. (emphasis in original).

This is why the “heat-restriction” placed on many of the inmates at the Pack Unit includes a

prohibition on working and recreating in environments above 95 degrees, but does not

recommend housing in a climate-controlled environment.



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                       d. The Installation and Cost of Air Conditioning the Pack Unit

        The parties have divergent views about the difficulty and cost associated with installing

air conditioning units at the Pack Unit. The Court heard extensive testimony from both parties’

expert witnesses regarding this issue and has reviewed both expert reports. The experts testified

about the cost associated with renting and purchasing air conditioning equipment. Since this is a

preliminary injunction, however,29 the Court focuses on the evidence regarding the temporary

installation and rental of air conditioning units.

        Plaintiffs’ expert, Ron Brown, testified that the cost of renting, shipping, installing, and

running air conditioning units for all of the dormitories of the Pack Unit for three months would

be approximately $108,000.30 Hearing Tr. 2 at 36. Defendants’ expert, Frank Traknyak, on the

other hand, testified that the cost of air conditioning the dormitories for three months would cost

over $1.2 million. Hearing Tr. 7 at 204. The Court finds that both experts were discredited on

cross-examination, and that neither of their estimates accurately describes the cost associated

with air conditioning all housing areas of the Pack Unit for three months. However, the Court

finds that Mr. Brown’s estimate is closer to the actual cost, as explained below.

        Mr. Traknyak based his estimate on the rental of a chill water system, which is a more

expensive class of equipment than the package units recommended by Mr. Brown. Hearing Tr. 8

at 45. Mr. Traknyak also testified that generators would have to be rented in order to run the

units, and that the fuel alone for these generators would cost $316,000 per month. Hearing Tr. 7

at 204. However, the Pack Unit already owns a standby generator, and has excess capacity in its

existing electrical supply, both of which could be used to power the air conditioning units.
29
  Under the Prison Litigation Reform Act, a preliminary injunction automatically expires after
90 days. 18 U.S.C.A. § 3626(a)(2).
30
  Mr. Brown also found that it would cost approximately $20,000 to air condition the gym in the
Pack Unit for three months. Hearing Tr. 2 at 44-46.

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Hearing Tr. 8 at 65-69. Although the Court is not considering the costs involved with installing

permanent air conditioning at the Pack Unit at this time, the Court notes that Mr. Traknyak

testified that it would cost over $22 million to install permanent air conditioning at the Pack

Unit.31 Id. at 42. A large portion of this cost derives from the assumption that there would need

to be significant changes to the building structure to ensure compliance with all current

construction codes, such as the building code and energy code. Id. at 42. Mr. Traknyak’s

testimony was significantly undermined when he testified on cross examination that he knew that

TDCJ does not have to comply with building codes, but still chose to incorporate those costs into

his estimate. Id. at 29-30. The Court finds that Mr. Traknyak’s estimate for the cost of

temporarily air conditioning the Pack Unit is needlessly high and does not accurately reflect the

true cost that would be incurred by TDCJ.

        The Court also finds that Mr. Brown underestimates the cost of temporarily air

conditioning the Pack Unit. Several problems with Mr. Brown’s calculations were revealed on

cross-examination. Mr. Brown used industry-standard software for calculating the amount of

cooling necessary to bring the Pack Unit to his design point of 85 degrees. Hearing Tr. 2 at 14-

15. The software accounts for a variety of factors, including the type of walls that surround the

structure in question. The Pack Unit’s walls are made of insulated sheet metal. Id. at 69.

However, Mr. Brown based his calculations on insulated concrete. Id. Mr. Brown testified that

these two materials are similar, and that using insulated sheet metal would not have made a

significant difference in the outcome of the calculations. Id. at 69-70. The software used by Mr.

Brown also accounts for location, but only has certain locations to choose from, so the user must

select the closest one. Mr. Brown input “Austin” as the location, which is 100 miles away from
31
  Mr. Traknyak also testified that it would cost $79 million to install air conditioning at the
Hutchins Unit; $135 million at the Michael Unit; $109 million at the Hodge Unit; and $79
million at the Gurney Unit. Hearing Tr. 8 at 3-4.

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the Pack Unit. Meanwhile, Mr. Traknyak input Easterwood Airport, which is 30 miles away

from the Pack Unit. Id. at 71. Mr. Brown was using an older version of the software, which does

not have Easterwood Airport as an option, so Austin was the closest location. Id. at 72. Although

neither of these inaccuracies likely had a large effect on the resulting estimates, they do detract

from Mr. Brown’s overall credibility.

       Mr. Brown also designed his air conditioning system to cool to 85 degrees, not including

humidity, compared to Mr. Traknyak’s cooling point of 80 degrees. Hearing Tr. 8 at 43-44. Mr.

Traknyak’s lower cooling point increases the amount of power required, and the resulting cost,

of his system. Id. But the Court finds that Mr. Brown’s cooling point of 85 degrees is not

adequately protective, considering the high levels of humidity at the Pack Unit. Finally, Mr.

Brown did not make any room for “redundancy”—the idea that if one unit breaks, there is

another on hand that can supply sufficient air conditioning. Hearing Tr 2. at 68. Mr. Traknyak,

on the other hand, included 15-20% redundancy in his estimate. Hearing Tr. 8 at 60. Because of

the above-described problems problems with Mr. Brown’s calculations, the Court finds that Mr.

Brown’s estimate is probably slightly lower than the actual cost. However, the Court finds that

Mr. Brown’s estimate is closer to the actual cost than Mr. Traknyak’s estimate.

               2. Window Screens

       Plaintiffs request that Defendants be required to install window screens with insect-

resistant mesh to prevent insect infiltration, while permitting airflow from open windows.

Warden Herrera testified that, when he first became warden of the Pack Unit, the windows had

mesh screens that kept out all insects. Hearing Tr. 4 at 76. There was a problem with inmates

cutting the screens or pushing them out in order to smuggle contraband, so the prison replaced

the screens with stainless steel screens. Id. at 76-78. These screens cannot be cut through, and are



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bolted into place. Id. at 78. However, the holes between the wires are larger, allowing insects to

get through. Id. at 78-79; Hearing Tr. 8 at 93 . Mr. Vail, Plaintffs’ expert on corrections, testified

that while he understands the need for the security screens, he has seen other prisons where

screens that can keep out insects are placed on the outside of the security screen. Hearing Tr. 2 at

174. This way, security is not undermined, and insects are unable to enter the housing areas.

       Mr. Ginsel testified that he believes placing an additional screen over the existing screen

would hinder airflow into the housing areas. Hearing Tr. 5 at 154. While Mr. Ginsel has worked

in corrections for many years, he is not an expert on climate or cooling, and as such his

testimony on this issue must be discounted. It is certainly possible that an additional screen could

hinder airflow, but the Court has been presented with no evidence upon which to make that

determination.

       As to cost, Mr. Farguson, TDCJ’s Director of Maintenance, estimated that installing

mesh screens at the Pack Unit would cost approximately $72,000. Hearing Tr. 8 at 94; Defs.’ Ex.

120 at 4. Although Mr. Farguson forgot to input the estimated cost of the screens themselves, the

Court finds that Mr. Farguson’s estimate is unrealistically high. Hearing Tr. 8 at 93-94. Mr.

Farguson estimated that it would take 622 hours to install the screens—77 eight-hour days.

Defs.’ Ex. 120 at 4. Mr. Farguson does not explain, in his report or his testimony, how he

reached this number, or why it is so high. Mr. Farguson also estimates spending over $6,000 on

paint and primer, presumably to paint the window frames, but does not explain why this is

necessary for installation. Id. Accordingly, the Court discounts entirely Mr. Farguson’s

testimony regarding the cost of installing window screens. The Court further finds that TDCJ’s

estimate about the cost of installing window screens exemplifies Defendants’ consistent over-




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estimation of the cost of implementing Plaintiffs’ proposed remedies throughout the preliminary

injunction hearing.

       The Court finds that the men living in the housing areas with windows that open should

not have to choose between the potential cooling effect from the windows, and insect infestations

in their dormitories. The Court further finds that there is simple solution to this dilemma: placing

mesh screens outside the security screens.

               3. Creation of a Heat Wave Policy for the Pack Unit

       Plaintiffs request that the Court order Defendants to develop a heat wave policy for the

Pack Unit. The Court has already discussed the importance of a heat wave policy, and has found

unpersuasive TDCJ’s argument that the Incident Command System is a heat wave policy.

Additionally, the Court (and both parties’ experts) disagree with Defendants that it would be too

difficult to devise a substantive policy that would apply to all units. Even if it were, Plaintiffs

request that a heat wave policy be created for the Pack Unit only. Defendants have presented no

convincing reasons why this should not be ordered, should the Court find an ongoing

constitutional violation.

               4. Other Remedies

       Plaintiffs request many other remedies, such as opening all sealed windows, monitoring

Plaintiffs’ water intake, granting access to on-demand showers, announcing temperatures in the

dormitories, scheduling respite, conducting wellness checks with medical staff, monthly inmate

training, the use of Power Breezers and IcyBreeze units, distributing individual water coolers,

and more. For the reasons explained in Section III, the Court does not find it necessary to discuss

these remedies at this time.




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II. Conclusions of Law

        A. The Legal Standard

        To obtain a preliminary injunction, the plaintiffs must establish “(1) a substantial

likelihood of success on the merits, (2) a substantial threat of irreparable injury if the injunction

is not issued, (3) that the threatened injury if the injunction is denied outweighs any harm that

will result if the injunction is granted, and (4) that the grant of an injunction will not disserve the

public interest.” Janvey v. Alguire, 647 F.3d 585, 595 (5th Cir. 2011); Nichols v. Alcatel USA,

Inc., 532 F.3d 364, 372 (5th Cir. 2008).32

        None of the four requirements has a fixed quantitative value. Texas v. Seatrain Int’l, S.A.,

518 F.2d 175, 180 (5th Cir.1975). Therefore, in applying the four-part test, “a sliding scale is

utilized, which takes into account the intensity of each in a given calculus.” Id. This requires “a

delicate balancing of the probabilities of ultimate success at final hearing with the consequences

of immediate irreparable injury that possibly could flow from the denial of preliminary relief.”

Klitzman, Klitzman & Gallagher v. Krut, 744 F.2d 955, 958 (3d Cir.1984).

        The decision to grant or deny a preliminary injunction is discretionary with the district

court. Miss. Power & Light Co. v. United Gas Pipe Line Co., 760 F.2d 618, 621 (5th Cir.1985).

However, because a preliminary injunction is an extraordinary remedy, it “should not be granted

unless the party seeking it has clearly carried the burden of persuasion on all four requirements.”

Planned Parenthood Ass’n of Hidalgo Cty. Tex., Inc. v. Suehs, 692 F.3d 343, 348 (5th Cir.2012).




32
  “[A]t the preliminary injunction stage, the procedures in the district court are less formal, and
the district court may rely on otherwise inadmissible evidence, including hearsay evidence.”
Sierra Club, Lone Star Chapter v. F.D.I.C., 992 F.2d 545, 551 (5th Cir. 1993).


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         B. Likelihood of Success on the Merits

                1. The Constitutional Requirements

         The Eighth Amendment expressly prohibits “punishment” that is “cruel and unusual.”

U.S. Const. amend. VIII. “The Constitution does not mandate comfortable prisons, but neither

does it permit inhumane ones.” Farmer v. Brennan, 511 U.S. 825, 832 (1994) (internal quotation

marks and citation omitted). The Eighth Amendment imposes a duty on prison officials to

provide “humane conditions of confinement” by ensuring that inmates receive adequate food,

clothing, shelter, and medical care, and that “reasonable measures” are taken for inmate safety.

Id.

         A plaintiff must meet two requirements to establish an Eighth Amendment violation.

First, “the deprivation alleged must be, objectively, sufficiently serious.” Id. at 834 (internal

quotation marks and citations omitted). Conditions of confinement that deprive an inmate of “the

minimal civilized measure of life's necessities . . . are sufficiently grave to form the basis of an

Eighth Amendment violation.” Wilson v. Seiter, 501 U.S. 294, 298 (1991) (internal quotation

marks and citation omitted). Second, the plaintiff must show that the prison official acted with

deliberate indifference to that known risk. Farmer, 511 U.S. at 834.

                2. Conditions of Confinement that Violate the Eighth Amendment

                       a. Substantial Risk of Serious Injury or Death

         Plaintiffs have shown a substantial risk of serious injury or death as a result of the

conditions at the Pack Unit. The Fifth Circuit has found extreme heat in prisons to violate the

Eighth Amendment when insufficient mitigation measures are used. Ball, 792 F.3d 584

(affirming necessity of injunctive relief to protect inmates from high indoor temperatures);

Gates, 376 F.3d at 339 (same). Outdoor conditions at the Pack Unit routinely exceed 100 degrees



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during the summer months. During the hearing, a heat advisory was issued for the county in

which the Pack Unit is located, warning that the heat index would reach “near or above 108”

degrees that day. Evidence reveals that the conditions inside some of the housing areas are even

hotter than those outside. Despite these conditions, which are known to cause a high risk of heat-

related illness, Defendants have not found a way to cool the housing areas to a safe temperature,

or to sufficiently counteract the risk without cooling the housing areas.

       The evidence further shows that heat-related illness can lead to serious injury or death

quickly, with little warning, and in ways that make it difficult for those experiencing the

symptoms to get the proper help. Indeed, at least 23 men have already died from heat-related

illnesses in other TDCJ facilities. Although TDCJ has implemented more mitigating measures in

all facilities since those deaths, the Court has found that these mitigating measures are often

ineffective, and that the risk of serious injury or death remains. This risk is especially heightened

for inmates who suffer from conditions or take medications that impede the body’s ability to

regulate its temperature.

       Defendants emphasize that they have implemented mitigating measures above and

beyond those mandated by the Fifth Circuit in Ball, 792 F.3d at 599 (listing measures such as

diverting cool air from the guards’ pod into the prison tiers; allowing inmates to access air

conditioned areas during their tier time; allowing access to cool showers at least once a day;

providing an ample supply of cold drinking water and ice at all times; and supplying personal ice

containers and individual fans). But in listing those measures, the Fifth Circuit did not hold that

those were the only measures necessary to meet the requirements of the Eighth Amendment.

Rather, the Fifth Circuit found that the district court’s order to air condition Louisiana’s death

row violated the Prison Litigation Reform Act, which requires district courts to order remedies



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that eliminate the constitutional injury without more. Id. at 599. Because measures short of air

conditioning existed but had not been implemented, the Fifth Circuit found that those measures

could eliminate the injury in a less intrusive manner than air conditioning. Id. Implicit in the

Fifth Circuit’s holding is that, if those measures were subsequently found to be insufficient to

rectify the constitutional violation, other remedies, such as air conditioning, would be

appropriate. Indeed, the Fifth Circuit has affirmed determinations that prison officials violated

the Eighth Amendment despite evidence that the officials implemented some remedial measures,

when those remedial measures proved inadequate to protect inmates from extreme heat. Webb v.

Livingston, 618 Fed. Appx. 201, 209 n. 7 (5th Cir. 2015) (“the mere presence of remedial

measures would not end the inquiry, as such measures must be adequate.”).

       Although Defendants have implemented the mitigating measures contemplated by the

Fifth Circuit in Ball, Plaintiffs have shown that those measures are insufficient to protect against

a substantial risk of harm. Plaintiffs testified that the conditions in the housing areas are

unbearable, and cause them to experience the symptoms of heat-related illnesses on a daily basis.

The mitigating measures put in place by Defendants are by and large ineffective at reducing the

heat stress placed on Plaintiffs’ bodies. In some cases, they even increase the heat index, as

exemplified by the Power Breezers that add humidity and the fans that blow hot air on Plaintiffs’

bodies. In other cases, they create new problems, such as the open windows that allow insects

into the housing areas. They do not stop Plaintiffs from experiencing the symptoms of heat-

related illnesses and do not reduce the risk of serious injury or death to a socially-acceptable

level. In sum, the Court concludes, based on the findings detailed in the previous sections, that

Plaintiffs have shown a substantial risk of serious illness or death from the current conditions at

the Pack Unit.



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                      b. Deliberate Indifference

       Deliberate indifference is defined as a failure to act where prison officials have

knowledge of a substantial risk of serious harm to inmate health or safety. Farmer, 511 U.S. at

837. The deliberate indifference standard is an “extremely high” standard to meet. Domino v.

Texas Dep’t of Criminal Justice, 239 F.3d 752, 756 (5th Cir. 2001). A prison official is not liable

for deliberate indifference unless the official knows of and disregards an excessive risk to an

inmate’s health or safety. Id. The official must be aware of facts from which the inference could

be drawn that a substantial risk of serious harm exists, and he must also actually draw the

inference. Id. “Whether a prison official had the requisite knowledge of a substantial risk is a

question of fact subject to demonstration in the usual ways, including inference from

circumstantial evidence.” Ball, 792 F.3d at 594 (quoting Farmer, 511 U.S. at 826). However, a

prison official’s knowledge of a substantial risk of harm may be inferred if the risk was obvious.

Farmer, 511 U.S. at 829.

       The evidence in the record reveals that Defendants know that a risk of serious harm exists

as a result of the extreme temperatures at the Pack Unit. Defendants are aware that nearly two

dozen men have died of heat-related illness at TDCJ facilities, and that inmates and correctional

officers regularly experience heat-related illnesses. Furthermore, their own policies reflect the

known danger of the heat in Texas. For example, as stated in TDCJ’s “Training Circular” on

extreme heat, “A Heat Advisory is issued within 12 hours of the onset of extremely dangerous

heat conditions . . . Take precautions to avoid heat illness. If you do not take precautions, you

could become seriously ill or even die.” Pls.’ Ex. 53 at 2. Similarly, as written in TDCJ’s “Heat

Directive” email, “It is the time of year again, when employees and offenders may be affected by

extreme heat conditions. Due to the potential for extreme heat conditions in the coming months,



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it is imperative that everyone take precautions to help prevent or reduce heat-related illnesses.”

Defs.’ Ex. 7 at 1. As to heat waves, Warden Herrera testified that he knows another heat wave

will hit the Pack Unit at some point in the future, but stated that he has no intention of creating a

heat wave policy unless ordered to do so by this Court or his superiors. Defendants’ expert

testified that he believes there should be a heat wave policy, and that the current mitigation

measures will not suffice in the event of a heat wave. Considering this evidence, the Court

concludes that Defendants are aware of a substantial risk of serious harm to Plaintiffs.

Alternatively, the Court concludes that the risk of harm from the extreme temperatures at the

Pack Unit is obvious.

        Specifically with regard to the heat-sensitive subclass, the evidence shows that

Defendants are aware of the increased risk of harm faced by heat-sensitive inmates. TDCJ’s

Administrative Directive 10.64 discusses offenders who have been identified “as having a

condition or being on a medication that makes the offender more susceptible to temperature-

related issues.” Defs.’ Ex. 1 at 1. As stated in TDCJ’s “Training Circular”:

        TDCJ and medical staff shall work together to identify offenders susceptible to
        temperature-related illness due to medical conditions. Medical staff shall provide
        correctional staff a list of offenders susceptible to temperature-related illness due
        to medical conditions, including offenders on prescribed diuretics or other
        medications known to inhibit the dissipation of heat.

Pls.’ Ex. 53 at 3. Similarly, TDCJ’s “Heat Directive” instructs officials to provide the heat-

restriction list, “a list of offenders identified as heat sensitive,” to all officers assigned to housing

areas. Defs.’ Ex. 7 at 1. Accordingly, the Court finds that Defendants are aware of an increased

risk of serious injury or death faced by inmates with heat sensitivities.

        The evidence shows that, despite knowing of the substantial risk of harm faced by all

inmates at the Pack Unit, and the increased risk of harm faced by the heat-sensitive inmates,



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Defendants have disregarded this risk. Defendants argue that they have implemented several

mitigating measures since the deaths in 2011 and 2012, and that this shows that they are not

deliberately indifferent. But the effectiveness of the measures implemented by TDCJ is relevant

to the Court’s analysis. Webb, 618 Fed. Appx. at 209 n. 7 (“the mere presence of remedial

measures would not end the inquiry, as such measures must be adequate.”).

          The Court has already found that the large fans and personal fans used in the Pack Unit

dormitories are ineffective, and are in fact potentially harmful, above temperatures of 95 degrees.

Defendants are aware of this fact—indeed, it is written into their “Training Circular.”33 Yet they

still use fans as one of the major mitigating measures in the housing areas, despite knowing that

the heat index regularly reaches 95 degrees. One week before the hearing on Plaintiffs’ motion

for preliminary injunction, Defendants placed eight “Power Breezers” in several of the housing

areas at the Pack Unit. These fans release a light mist, slightly cooling the area immediately in

front of the fan. However, Defendants’ own expert opined that Power Breezers would not be

effective in the high-humidity environment at the Pack Unit, and would only increase the

humidity, thus potentially raising the heat index.34 The Court found that Power Breezers are an

ineffective mitigating measure. Additionally, the open windows in some of the housing units

provide little or no cooling effect during the day, but may have some cooling effect at night.

However, the gauge on the window screens is too large, allowing insects to infest the dormitories

at night. If Plaintiffs were to close the windows in the housing units, though, they would lose any

potential cooling effect from open windows, as well as the additional ventilation that windows

provide. This exact scenario was considered by the Fifth Circuit in Gates v. Cook, 376 F.3d 323

(5th Cir. 2004). The Fifth Circuit held that insufficient gauge on window screens could cause an

33
     See Section I.F.1, supra.
34
     See id.

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Eighth Amendment violation by exacerbating heat problems if it deterred inmates from keeping

their windows open. Id. at 340.

       Defendants have also emphasized the extent of their training, for inmates and correctional

officers, about the risks and symptoms of heat-related illness. These training documents highlight

the need to “take action” during heat advisories that often occur during the summertime. Yet

TDCJ does not disseminate the advisories that it receives to the affected regions. As a result,

prison officials and inmates remain unaware of the substantial risk that they face. This ignorance

is exacerbated by Warden Herrera’s decision to stop measuring the indoor heat index at the Pack

Unit when this lawsuit was filed.

       Finally, the Pack Unit has implemented a respite program, which it touts as an extremely

effective mitigation measure. The Court has found, however, that this program often requires the

men at the Pack Unit—a large proportion of whom are older or have mobility impairments—to

stand for long periods of time, sometimes with their noses against a wall; sit in silence; or walk

from one area of the prison to another as the small respite areas become full. Furthermore,

because the Pack Unit only air conditions spaces intended for use by administrators and staff, the

program can accommodate only a fraction of the inmates at the Pack Unit before the normal

operations of the prison would have to start shutting down, as Warden Herrera testified. And

when a larger group of men attempted to access respite during the hearing, they were threatened

with retaliation by at least one of the correctional officers. The Court has found that this program

does not function in a way that is an effective mitigating measure when considering the extreme

temperatures faced by inmates in their housing areas.

       What TDCJ did not do in the face of the substantial risk of harm is also relevant to the

Court’s analysis. The Court has found that TDCJ has never considered installing air conditioning



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in any of its facilities that were not built with air conditioning, even after inmates started dying

from heat-related illness. Although the Court understands that the task of retrofitting facilities is

considerable, even Defendants’ expert thought that it should have been considered. Hearing Tr. 7

at 135. TDCJ has also never examined options, short of retrofitting facilities, that could place

heat-sensitive inmates in air conditioned housing. Before 2013, at which point TDCJ received a

media inquiry, TDCJ did not know how many air conditioned beds existed in its facilities. TDCJ

has never conducted an official analysis to look into the possibility of housing heat-sensitive men

and women in the pre-existing air conditioned beds. This could have been done using data that

TDCJ already has, would have been a minimal burden to TDCJ, and could have resulted in

protecting men and women that TDCJ knows are vulnerable to heat-related illness. Finally, the

Court has found that Defendants have failed to develop a heat wave policy, despite the ten deaths

that occurred in TDCJ during the 2011 heat wave. Both parties’ experts agreed that Defendants

should have a heat wave policy in place, and Defendants’ expert testified that the current

mitigating measures would not keep inmates safe in the event of another heat wave. 35

Defendants’ reasons for failing to develop a heat wave policy are exceedingly unpersuasive.

          In sum, the Court finds that, despite a significant risk of harm faced by the men at the

Pack Unit, Defendants have done the bare minimum. They have implemented mitigating

measures that they know, or should know, are ineffective given the extreme heat at the Pack

Unit, and they have failed to consider seriously the many more effective options available to

them. In doing so, they have ignored the risk of harm faced by the population they serve.

Accordingly, Plaintiffs have shown that Defendants are deliberately indifferent, and as such,

Plaintiffs have shown a likelihood of success on the merits of their Eighth Amendment claim.



35
     See Section I.F.3 supra.

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          In sum, the Court finds and concludes that:

         The outdoor heat index at the Wallace Pack Unit (“Pack Unit”) regularly exceeds 100

          degrees in the summer, and the conditions within some of the housing units are even

          hotter.

         The extreme heat inside and outside the Pack Unit places stress on the human body,

          causing a risk of illness. This risk, while present for all, is heightened for some—men

          who are heat-sensitive, with conditions or medication regimes that decrease the body’s

          ability to regulate temperature.

         The mitigation measures put in place by TDCJ and Pack Unit officials to combat the

          extreme heat are insufficient to decrease the risk of harm to an acceptable level.

         The conditions of confinement at the Pack Unit violate the Eighth Amendment right to be

          free from cruel and unusual punishment.

          C. Irreparable Injury

          “When an alleged deprivation of a constitutional right is involved, . . . most courts hold

that no further showing of irreparable injury is necessary.” 11A WRIGHT & MILLER, FEDERAL

PRACTICE & PROCEDURE, § 2948.1 (3d ed. 1998), see also ODonnell v. Harris Cty., Texas, ––

F.Supp.3d ––, 2017 WL 1735456, at *81 (S.D. Tex. Apr. 28, 2017). Plaintiffs have shown that

the conditions of confinement at the Pack Unit create a substantial risk of serious injury or death.

The heat-sensitive Plaintiffs have testified that they feel, on a daily basis, symptoms of heat-

illness, even with access to all of the mitigating measures in place at the Pack Unit. 36 Plaintiffs

have presented evidence that even young and healthy offenders are at serious risk in the

temperatures at the Pack Unit, and that they do not have adequate access to respite in air

36
     See Section I.F.1 supra.


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conditioning.37 The Warden of the Pack Unit has credibly and consistently testified that, without

an injunction from this Court, the conditions of the Pack Unit will not change.38 Hearing Tr. 4 at

79; 85; 106; 109; 118-119. As a result, Plaintiffs will continue to be denied their Eighth-

Amendment right to conditions of confinement that do not subject them to an unacceptable risk

of harm.

          The record evidence shows that Plaintiffs’ injury is irreparable. Twenty-three individuals

have already died from heat-related illnesses at other facilities in TDCJ. Those who experience

heat stroke but do not die are at risk of being permanently disabled. Furthermore, the symptoms

of heat exhaustion and heat stroke cause severe pain and suffering. Several of the plaintiffs who

testified have already experienced heat exhaustion, and all of them described experiencing

symptoms of heat-related illness. The heat-sensitive inmates face a particularly high risk of

suffering from heat-related illness, as their thermoregulatory functions are compromised. This

factor weighs strongly in favor of granting Plaintiffs’ request for injunctive relief. See also Ball,

988 F.Supp.2d at 688 (irreparable harm from heat in Louisiana death row that created a high

probability of developing a heat-related illness).

          D. Balancing the Harms

          Courts “must balance the competing claims of injury and must consider the effect on each

party of the granting or withholding of the requested relief.” Amoco Prod. Co. v. Village of

Gambell, Alaska, 480 U.S. 531, 542 (1987). “In exercising their sound discretion, courts of

equity should pay particular regard for the public consequences in employing the extraordinary




37
     See id; Section I.D. supra.
38
  At times, the Warden seemed to be inviting a judicial decree to prompt reforms or
improvements that otherwise would never materialize.

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remedy of injunction.” Weinberger v. Romero–Barcelo, 456 U.S. 305, 312 (1982) (citation

omitted).

       Defendants produced plentiful evidence about the cost of implementing each requested

remedy. Although the Court has found that Defendants’ estimates were often overstated, the

Court acknowledges, and takes seriously that Defendants will incur no small cost in

implementing the remedies required by this injunction. However, the evidence in the record

shows that TDCJ has an annual budget of over $3 billion, and an annual maintenance budget of

over $40 million. Hearing Tr. 5 at 105; Docket Entry No. 720-8 at 10. Thus, the Court finds that

the remedies ordered will not negatively impact the public, because TDCJ has sufficient

budgetary resources with which to implement the remedies. Even if the remedies ordered would

be “fiscally catastrophic” for TDCJ, as Defendants maintain they are, the Fifth Circuit has held

that “inadequate resources can never be an adequate justification for depriving any person of his

constitutional rights.” Udey v. Kastner, 805 F.2d 1218, 1220 (5th Cir. 1986).

       The Court further finds that the security of the prison will not be undermined by the

remedies ordered by this Court. The Court grants substantial discretion to the prison to

implement the remedies in a way that takes into consideration all of the security concerns

inherent in a prison. Accordingly, public safety will not be compromised. Conversely, if the

Court were to fail to order remedies in this lawsuit, Plaintiffs’ safety would be severely

undermined, leading to a substantial risk of irreparable injury. Accordingly, the Court finds that

this factor weighs heavily in favor of granting a preliminary injunction.

       E. The Public Interest

       “It is always in the public interest to prevent the violation of a party’s constitutional

rights.” ODonnell, –– F.Supp.3d ––, 2017 WL 1735456, at *83 (citing Simms v. District of



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Columbia, 872 F.Supp.2d 90, 105 (D.D.C. 2012) (collecting cases)). The Court has found that

Plaintiffs’ Eighth Amendment rights are being continuously violated by the conditions of

confinement at the Pack Unit. Accordingly, this factor weighs heavily in favor of granting a

preliminary injunction.

       F. Bond

       A federal court may waive the bond requirement. Fed. R. Civ. Pro. 65(c); City of Atlanta

v. Metro. Atlanta Rapid Transit Auth., 636 F.2d 1084, 1094 (5th Cir. 1981); Corrigan Dispatch

Co. v. Casa Guzman, S.A., 569 F.2d 300, 303 (5th Cir. 1978). The Court finds that waiving the

bond is appropriate in this case; Plaintiffs are indigent, see Wayne Chem., Inc. v. Columbus

Agency Serv. Corp., 567 F.2d 692, 701 (7th Cir. 1977), and Plaintiffs have brought this suit to

enforce constitutional rights, see City of Atlanta, 636 F.2d at 1094. No bond is imposed.

III. Remedy

       Under the Prison Litigation Reform Act (“PLRA”), “[i]n any civil action with respect to

prison conditions, to the extent otherwise authorized by law, the court may enter a temporary

restraining order or an order for preliminary injunctive relief. Preliminary injunctive relief must

be narrowly drawn, extend no further than necessary to correct the harm the court finds requires

preliminary relief, and be the least intrusive means necessary to correct that harm. The court

shall give substantial weight to any adverse impact on public safety or the operation of a criminal

justice system caused by the preliminary relief and shall respect the principles of comity set out

in paragraph (1)(B) in tailoring any preliminary relief. Preliminary injunctive relief shall

automatically expire on the date that is 90 days after its entry, unless the court makes the findings

required under subsection (a)(1) for the entry of prospective relief and makes the order final

before the expiration of the 90-day period.” 18 U.S.C.A. § 3626(a)(2).



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       Paragraph (1)(B) of the PLRA states, “The court shall not order any prospective relief

that requires or permits a government official to exceed his or her authority under State or local

law or otherwise violates State or local law, unless—

       (i) Federal law requires such relief to be ordered in violation of State or local law;

       (ii) the relief is necessary to correct the violation of a Federal right; and

       (iii) no other relief will correct the violation of the Federal right.” 18 U.S.C.A. §

3626(a)(1)(B).

       “The PLRA greatly limits a court’s ability to fashion injunctive relief.” Ball, 792 F.3d at

598. “Under the PLRA, plaintiffs are not entitled to the most effective available remedy; they are

entitled to a remedy that eliminates the constitutional injury.” Id. at 599, citing Westefer v. Neal,

682 F.3d 679, 683–84 (7th Cir. 2012). “In Eighth Amendment cases, plaintiffs can only obtain a

remedy that reduces the risk of harm to a socially acceptable level.” Id.

       The Court has concluded that Plaintiffs have demonstrated a likelihood of success on the

merits of their Eighth Amendment claim. They have shown that conditions in the housing areas

of the Pack Unit, even with all of the mitigating measures in place, subject them to a substantial

risk of serious injury or death. This risk is significantly higher for plaintiffs in the heat-sensitive

subclass.

       The Court does not minimize in any degree the limitations of the PLRA in ordering the

relief necessary to cure this violation. With regard to the young and healthy inmates, given the

mandate that any relief ordered be narrowly drawn, extend no further than necessary to correct

the harm, and be the least intrusive means necessary to correct that harm, the Court concludes

that it cannot order the Pack Unit to lower the temperatures in the housing areas at this time.

Instead, it orders the Pack Unit to implement a fully functioning respite program—one that



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corrects the many problems identified by the Court, and one that has the capacity to

accommodate, realistically and comfortably, a significant portion of the prison. The Court is

concerned that, even with a fully functioning respite program in place, young and healthy

inmates may still be subjected to unconstitutional conditions. This is especially so given the

possibility of another heat wave in the near future. However, given the potential effectiveness of

a respite program for young and healthy inmates, the Court concludes that this, along with the

other mitigation measures currently in place, may correct the harm, and the Court is bound by the

PLRA not to order more extensive corrective measures in the housing areas for the young and

healthy inmates at this time.

       As to the heat-sensitive subclass, however, the Court concludes that even a fully

functioning respite program will not correct the harm. The Court heard compelling expert

testimony that the measures implemented by the Pack Unit, even if functioning as intended, do

not reduce the risk of substantial harm to inmates in this subclass. The conditions and

medications encompassed in the heat-sensitive subclass make those Plaintiffs significantly more

likely to experience heat-related illness, even with access to respite. The Court has found that

heat-sensitive Plaintiffs who are already accessing respite on a daily basis are still experiencing

the symptoms of heat-related illnesses. These illnesses can occur rapidly and with little warning,

and can lead to serious pain or death. The only way to reduce this risk to an acceptable level is to

house heat-sensitive inmates in areas with apparent temperatures lower than 88 degrees. Because

TDCJ has made clear that it cannot house the heat-sensitive Plaintiffs in any of TDCJ’s pre-

existing air conditioned beds, Defendants must lower the apparent temperatures in the housing

areas where the heat-sensitive plaintiffs reside to a heat index of no more than 88 degrees. This

requirement does not extend further than necessary to correct the harm, because the Court does



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not order Defendants to reduce temperatures to a level that may be comfortable, but simply to a

level that reduces the significant risk of harm to an acceptable one.

       The Court further orders Defendants to place window screens with a gauge that is small

enough to guard against insects on the outside of the security screens of the dormitories. Finally,

the Court orders Defendants to develop a heat wave policy for the Pack Unit that dictates the

criteria for determining when action should be taken, and what those actions should be, in the

event of a heat wave.

       The Court concludes that the relief ordered does not require Defendants to exceed their

authority under Texas law. As previously discussed, TDCJ has an annual budget of $3 billion,

and an annual maintenance budget of $40 million. Although the cost of implementing the

remedies is still unknown, the Court concludes that the cost will come nowhere near the annual

maintenance budget for TDCJ. In fact, Defendants’ expert concluded that air conditioning all of

the Pack Unit for the summer would cost $1.2 million. The Court found that this estimate was

too high, and that the estimate by Plaintiffs’ expert of $110,000 was closer to the actual amount.

Regardless, the Court certainly does not order Defendants to air condition all of the housing

areas in the Pack Unit. And the Court does not even require any air conditioning of the areas now

used to house the heat-sensitive subclass. Defendants may re-configure areas that are currently

air conditioned to accommodate the heat sensitive, or move them to other facilities in Texas.

Defendants have access to expertise in many different fields and can no doubt draw on that

expertise in considering different options to afford the heat sensitive a safer living environment.

It is within TDCJ’s authority to use its pre-existing budget to comply with this order. However, if

it is determined that TDCJ does not have authority to comply with this order, the Court

concludes that federal law requires the relief to be ordered, the relief is necessary to correct the



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violation of Plaintiffs’ Eighth Amendment rights, and no other relief will correct the violation of

their Eighth Amendment rights.

       Although normally a court is required by Rule 65 of the Federal Rules of Civil Procedure

to describe, in reasonable detail, the acts required by its injunction, the Supreme Court has held

that in cases against state prisons, a district court must give “adequate consideration to the views

of state prison authorities.” Lewis v. Casey, 518 U.S. 343, 362 (1996). This Court recognizes the

difficulties of running a prison such as the Pack Unit, and the various considerations that

administrators must weigh when making any changes. Thus, instead of “dictat[ing] precisely

what course the State should follow,” Lewis, 518 U.S. at 362, quoting with approval Bounds v.

Smith, 430 U.S. 817, 818 (1977), in designing a more robust respite program and in determining

how to lower the temperatures in the housing areas of the heat-sensitive plaintiffs, the Court

orders that Defendants submit proposed remedies that comport with the Court’s order. However,

because the hottest days of summer are ongoing, these remedies should be submitted within 15

days of this order. A hearing is hereby set for August 8, 2017, at 2:00 p.m., at which time

Plaintiffs can respond to Defendants’ proposals. The remedies ordered by this Court must be

implemented within a time frame to be determined at the hearing.

       In sum, the Court orders that:

      Defendants correct the numerous problems with the existing respite program identified

       by the Court in this opinion;

      Defendants lower the temperature in the housing areas of heat-sensitive inmates;

      Defendants install window screens, with gauges that block insects, in the windows of the

       housing areas;

      Defendants develop a heat wave policy for the Pack Unit;



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         Defendants propose remedies that conform to the Court’s order within 15 days.

IV. Conclusion

          The Court can anticipate that there will be many among the public who will recount

stories of having survived abodes in hot climates without the benefit of modern technology. The

Court also has personal experience to that effect. Further, the Court is well aware that, in the

history of correctional institutions, technical melioration of summer heat is a late arrival.

          The Court is unpersuaded that the experience of those in the free world can be fairly

compared with those who are imprisoned. Choice abounds among those on the outside, whereas

the availability of choices to the imprisoned is strictly controlled by third parties. In the free

world, those who are hot can visit air conditioned spaces in shopping malls, museums, houses of

worship, community centers, public transportation, automobiles, and in the homes of friends and

family. Swimming pools may be available. And those in the free world do not have to confront

the fact that the space they inhabit today will likely be the space that they will inhabit for years,

and even decades, to come. Nor do they commonly suffer from the co-morbidities discussed

herein.

          Similarly, to deny modern technology to inmates today for the simple reason that it was

not available to inmates in past generations is an argument that proves too much. No one

suggests that inmates should be denied up-to-date medical and psychiatric care, or that they

should be denied access to radio or television, or that construction of prison facilities should not

use modern building materials. The treatment of prisoners must necessarily evolve as society

evolves.




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         As Dostoyevsky said more than 150 years ago, “The degree of civilization in a society

can be judged by entering its prisons.”39 Prisoners are human beings with spouses and children

who worry about them and miss them. Some of them will likely someday be shown to have been

innocent of the crimes of which they are accused.40 But, even those admittedly guilty of the most

heinous crimes must not be denied their constitutional rights. We diminish the Constitution for

all of us to the extent we deny it to anyone.

         The Court has considered an extensive record consisting of hundreds of exhibits and 13

days of testimony, heard over the course of two summers. The Court has also visited the Pack

Unit. The record evidence, the arguments of counsel, and the case law on prison heat all show

that Plaintiffs are entitled to preliminary injunctive relief. Each summer, including this one,

Plaintiffs face a substantial risk of serious harm from the sweltering Texas heat, and Defendants

have been deliberately indifferent in responding to this risk.

         The Court does not come to its decision lightly. “Institutions charged with safeguarding

the public have an extraordinary trust and a difficult task. The difficulty and importance of the

task cannot defeat an equally important public trust . . . —to enforce the Constitution.” Odonnell,

–– F.Supp.3d ––, 2017 WL 1735456, at *89. The punishment of men and women who have been

convicted of crimes in our society is limited by the bounds of the Eighth Amendment. The Court

concludes that the conditions in the Pack Unit have slipped beyond those bounds, requiring

intervention by this Court and injunctive relief for Plaintiffs.

         Plaintiffs’ clear likelihood of success on the merits of their claims at trial, the irreparable

injuries they will suffer without an order of relief from this Court, the public interest, and the

39
     Fyodor Dostoyevsky, The House of the Dead 76 (C. Garnett trans., 1957).
40
  52 men and women have been exonerated by DNA in Texas. The Cases, The Innocence
Project, https://www.innocenceproject.org /all-cases/#texas,exonerated-by-dna.

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relative weight of the harms should the Court refuse relief all weigh strongly in Plaintiffs’ favor.

Accordingly, the above-described relief is ordered.

       SIGNED in Houston, Texas, on this the 19th day of July, 2017.




                                              KEITH P. ELLISON
                                              UNITED STATES DISTRICT JUDGE




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